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                                                                     FILED
ROBERT EMERT
                                                                     Apr 12 2024
2351 VISTA LAGO TERRACE
                                                                CLERK, U.S. DISTRICT COURT
                                                             SOUTHERN DISTRICT OF CALIFORNIA
ESCONDIDO, CA 92029                                          BY        s/ GloriaVocal   DEPUTY

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rob cm crt(iil msn.com



                         FEDERAL DISTRICT COURT OF SOUTHERN
                                     CALIFORNIA



                                                         '24CV0671 JO MSB
 ROB EMERT
                                          42 U.S.C. § 1983 CIVIL RIGHTS
                PETITIONER                ACTION

                                          Seeking damages for the violation of Plaintiff Robert
 vs.
                                          Emert's Eighth Amendment right against excessive bail.
 SAN DIEGO BOARD OF SUPERVISORS,
                                           Rule 26(f) - case management conference to expedite
 COUNTY OF SAN DIEGO, DDA DAWN             discover;
                                           Rule 38(b) - Jury demand;
 BALERIO ACTING IN HER OFFICIAL            28 U.S.C 2284 - 3 Judge Panel
 CAPACITY, DAI LUIS PENA ACTING IN

 HIS OFFICIAL CAPACITY
_ _ _ _ _ _ _ _ _ _ _ _ ____, RELATED CASE: SCD297230 - SAN DIEGO
                              SUPERIOR COURT


                                          RELATED CASE: 19FL010852N - SAN
                                          DIEGO FAMILY COURT
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I. Introduction

A. Brief summary of the unconstitutional "no bail" and illegal pre-trial detention

This is a civil rights action brought under 42 U.S.C. § 1983 seeking damages for the
violation of Plaintiff Robert Emert's Eighth Amendment right against excessive bail and
Fourteenth Amendment right to due process, specifically focusing on his illegal 90-day
pre-trial detention for which he was never charged. The constitutional violations stem
from an unconstitutional pre-trial detention imposed by the San Diego County District
Attorney's Office, the County of San Diego, and the San Diego County Board of
Supervisors. (Exhibit AA)

While this will be elaborated on further in, it is important to note that while I ultimately
pled guilty under duress to California Penal Code§ 278.5(a) after 90 days of coercion under
threat of not getting out of jail and being told my son could come home as part of the guilty
plea, the focus of this lawsuit is solely on the unconstitutional pre-trial detention based on
a fabricated threat. (exhibit I) Under Heck v. Humphrey, 512 U.S. 477 (1994) and Leather v.
Ten Eyck, 180 F.3d 420, 423-24 (9th Cir. 1999), my claim does not challenge the validity of
my guilty plea, but rather the constitutionality of my pre-trial detention, a matter separate
and distinct from the plea itself. In short, I was maliciously retaliated against and illegally
incarcerated as punishment for being a whistleblower and legally protecting my child
under PC 278.7. (exhibit's A, B, E, Q). The illegal incarceration was used to shut me down
and shut me up.

To incarcerate someone without bail for making threats in California, the prosecution must
prove beyond a reasonable doubt:


   1. The defendant made a credible threat of imminent violence that would put a
      reasonable person in fear of harm.
   2. The defendant had specific intent to carry out the threat.
   3. The threat was not protected speech under the First Amendment.(California
      Penal Code Sections 422, 1270. l)

Based on the transcript, (exhibit I) the penal code for a prosecutable threat and a few AI analysis
of the transcript, the caller's statements do not contain the required elements and intentionality to
be considered prosecutable threat rising to the level of denying bail under California law. Per
DAI Pena's own words, DOA Balerio and DAI Luis Pena knew they could not win a case of PC
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278.5(a) due to PC 278.7 (exhibit I) and is why they did nothing for a year; withheld the
transcript of the "threat" for 90 days; withheld the interview DDA Balerio had with my son who
was 15 at the time (exhibit F); withheld the interview I had with DAI Pena (exhibit E); and
withheld the findings of the meeting I had with the FBI that of course determined I was not a
threat.

Following is a brief AI analysis of the "threat" call (exhibit I) that DDA Balerio illegally used to
incarcerate me for 90 days to coerce a guilty plea while withholding the full transcript and only
providing an out of context line to the court from the transcript and further took the call itself out
of the context that I was calling to follow up on my public corruption complaint (exhibits S,Q):

The caller repeatedly reaches out for assistance to prevent the situation from escalating:

 "I've called, you know, a dozen times ... And I I can't get anybody over there to call me back?"
(00:01 :31 , 00:02:23)

The caller seeks intervention from the FBI to resolve the issue with the DA's office:

"I need somebody to call me and then to call somebody over at the district Attorney's office
because the DA investigator over there has generally indicated if we get a call that says there is a
legitimate investigation going on over at the FBI, they'll that'll that'll pause things." (00:04:56)

"I need for you to call me ... and then to call Luis Pena and say that there is an investigation that's
going on. So they put the pause button on this thing." (00:07:52)

The caller explicitly denies making threats multiple times:

"I'm not making any threats whatsoever." (00:04:37)

"I am not making any threats. I need to make that perfectly clear." (00:06:33)

The caller's statements do not convey specific intent to carry out imminent violence:

"There's going to be a huge ...problem." (00:04:37) - Vague statement about a "problem" without
threatening specific harm.

The caller frames his statements as assertions of legal rights, not threats:

"I know my Second Amendment right." (00:06:44)

"Federal law ... says any kid that's over 14 gets to choose where they're going to live." (00:07:03)

Throughout the call, the caller portrays himself as a "law-abiding citizen" (00:03:31) and "good
person" (00:08:42) who is being victimized by judicial fraud and corruption, not someone with
criminal intent:

"I'm the victim, me and my kids are the victim of some ... massive judicial fraud." (00:01 :52)

"I've done nothing wrong. I'm ... a law abiding citizen. Always have been." (00:03: 11)
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In summary, the transcript clearly shows the caller was actively seeking help from law
enforcement to de-escalate the situation, not making criminal threats. He repeatedly reached out
for assistance, requested FBI intervention with the DA's office, denied making threats, lacked
specific intent to commit violence, asserted legal rights, and portrayed himself as a victim of
injustice. His statements do not meet the criteria for criminally prosecutable threats that could
justify denying bail under California law. The actions of DOA Balerio and DAI Pena in
withholding key evidence further demonstrate the lack of a credible case for keeping the caller in
pretrial detention.

While not a cause of action of this lawsuit, my factual innocence of PC 278.5(a) due to PC 278.7
is important to address because DOA Balerio and DAI Pena knew I was factually innocent and
used the illegal pretrial detention to simply coerce a guilty plea and inflict unwarranted pretrial
punishment.

As will be seen further in, DAI Pena says more than two dozen times in a roundabout way that
he is clearly aware of my factual innocence. (Exhibit E) Moreover, as will be seen as well further
in, DAI Pena put on his arrest warrant (exhibit AA) that I did not allow him to talk to my then 15
year old son; kept him out of school; I was not trying to resolve this custody issue in family
court; and again, was being charged with PC 278.5(a) when he states very clearly that this case
should never have been taken by the DA' s office; I would win if this case went to trial and my
son's lawyer, Matt Cord, had simply aligned with my x wife's attorney, Dave Schulman, AND
NOT IN MY SONS BEST INTERESTS. (exhibit E) In addition to the transcribed call that I had
with DAI Pena that proves all of this, there are extensive emails (exhibit A) that will be included
further and in and in exhibits that proves almost everything DAI Pena put on the arrest warrant is
perjury.

Plaintiff's pre-trial detention violates the Fourteenth Amendment's Due Process Clause,
which protects individuals from arbitrary and unreasonable government actions. The
Supreme Court has recognized that the Due Process Clause protects individuals from
punitive conditions of pre-trial confinement. (Bell v. Wolfish, 441 U.S. 520, 535-37 (1979)).
Furthermore, the Eighth Amendment's prohibition on excessive bail applies to the states
through the Fourteenth Amendment. (Schilb v. Kuebel, 404 U.S. 357, 365 (1971 )).

California Penal Code 422 defines a credible threat as one that is "so unequivocal,
unconditional, immediate, and specific as to convey to the person threatened, a gravity of
purpose and an immediate prospect of execution of the threat." Plaintiff was never
charged with making a threat that meets this definition, yet he was subjected to a
prolonged pre-trial detention and denied bail with the obvious goal of coercing a guilty plea
and punishing a whistleblower.

Plaintiff's research has revealed that in cases where individuals have been charged with
violating PC 278.5(a), there is not a single instance where the defendant was denied bail.
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This fact underscores the extraordinary and unconstitutional nature of Plaintiff's pre-trial
detention, as he was held without bail and without being charged with making a credible
threat.

The denial of bail in Plaintiff's case also runs counter to the California Constitution, which
provides that a person shall be released on bail except for capital crimes, certain felony
offenses, and certain acts of violence. (Cal. Const. art. I,§ 12). None of these exceptions
apply to Plaintiff's case, further highlighting the unconstitutional nature of his pre-trial
detention.

I, bring this civil rights action seeking damages for the violation of my Eighth Amendment
right against excessive bail and my Fourteenth Amendment right to due process, caused by
the unconstitutional pre-trial detention imposed by the San Diego County District
Attorney's Office, the County of San Diego, and the San Diego County Board of
Supervisors. I name as defendants the County of San Diego, the San Diego County Board of
Supervisors, and, in their official capacities, Deputy District Attorney Balerio and Deputy
District Attorney Investigator Pena.

Plaintiff's whistleblowing activities, specifically his public corruption complaint against
high-profile individuals within the family court system (Exhibit Q), were the driving force
behind the defendants' unconstitutional actions. As evidenced by the statements of
Deputy Attorney Investigator Pena in her interview with Plaintiff (Exhibit E), the family court
lawyers who were the subjects of Plaintiff's complaint pressured the District Attorney's
office to arrest and prosecute Plaintiff, despite the lack of probable cause. These lawyers,
seeking to retaliate against Plaintiff for exposing their alleged misconduct, attempted to
weaponize the criminal justice system to punish Plaintiff for his protected speech.



Defendants Balerio and Pena, acting in concert with the retaliatory motives of the family
court lawyers, engaged in a series of unconstitutional actions, including fabricating
evidence, setting excessive bail, withholding exculpatory evidence, and maliciously
prosecuting Plaintiff. These actions not only violated Plaintiff's First, Eighth, and
Fourteenth Amendment rights but also demonstrated the defendants' willingness to abuse
their positions to aid in the retaliation against a whistleblower.

Despite clear evidence of my innocence under legal necessity (California Penal Code§
278. 7), (exhibits A, B, C, E, F, M, N, 0) I was maliciously prosecuted under California Penal
Code§ 278.5(a). ODA Balerio and DAI Pena, aware of the lack of evidence against me,
fabricated a threat and committed perjury on the arrest warrant to justify my detention. Key
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facts demonstrating the lack of a credible threat and the Defendants' knowledge of my
innocence include:

The delay in arresting me, from October 4th, 2021, when I took custody of my son, to
January 3rd, 2023. As early as Oct 21 st 2021 (exhibit A) and through Jan 3rd 2023, I was in
full compliance with PC 278.7 but after the DA's office was getting pressured by the family
court lawyers to arrest me and "damn the evidence", the DA's office succumbed to
cronyism and or worse. (exhibit E)

Statements from DAI Pena indicating that I had "good cause" to hold onto my son and that
if the case went to trial, I would likely win. (Exhibit E)

The withholding of exculpatory evidence, such as the full transcript of the alleged threat
(exhibit I); my son's interview with DDA Balerio (exhibit F); and DAI Pena withholding of his
interview with me (exhibit E) where he says more than two dozen times in a round about
way that the DA should have never taken this case and this case does not belong in
criminal court, for the entirety of my 90-day incarceration.

The Defendants' actions were motivated by a desire to punish me for my whistleblowing
activities and to silence my complaints about corruption and misconduct in the San Diego
County family court system. (exhibit Q, I) They set an unreasonable bail of no bail, resulting
in my prolonged incarceration for 90 days, violating my Eighth Amendment right against
excessive bail.

The actions of Defendants Balerio and Pena, who were acting under color of state law, can
be attributed to the municipal defendants - the County of San Diego, the City of San Diego,
and the San Diego County Board of Supervisors - under the theories of municipal liability
established in Monell v. Department of Social Services, 436 U.S. 658 (1978). These
defendants were final policymakers for their respective municipalities, and their
unconstitutional conduct represented the official policies, practices, or customs of the
municipal defendants.



Furthermore, the municipal defendants were deliberately indifferent in their failure to train
and supervise Defendants Balerio and Pena properly. Despite being aware of the ongoing
constitutional violations through Plaintiff's numerous complaints and the clear evidence of
misconduct (Exhibits Z1-Z9), the municipal defendants failed to take any meaningful
corrective action, thereby enabling and encouraging the continued violation of Plaintiff's
rights.
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Throughout my ordeal, I made numerous attempts to inform the San Diego Board of
Supervisors and the City of San Diego about the ongoing misconduct and the violation of
my constitutional rights (exhibit Z). I sent at least half a dozen professional emails to the
Board, providing substantial evidence to support my claims and citing relevant case law,
such as Pembaur v. City of Cincinnati, 475 U.S. 469 (1986), and Goldstein v. City of Long
Beach, 715 F.3d 750, 762 (9th Cir. 2013). Despite being put on notice, the Board of
Supervisors and the City failed to take any meaningful action to address the situation,
demonstrating their deliberate indifference to the violation of my rights.

I am bringing this lawsuit to hold the Defendants accountable for their misconduct, to
prevent future violations of constitutional rights, and to obtain compensation for the
significant harm and damage I suffered as a result of the unconstitutional pre-trial
detention.

The Defendants' actions in setting unreasonable bail and failing to act on exculpatory
evidence (exhibit A, B, C, E, F, I) during my pre-trial detention were the direct result of the
County of San Diego's, the City of San Diego's, and the San Diego County Board of
Supervisors' policies and practices of failing to investigate or discipline prosecutors for
misconduct, even in the face of credible complaints and clear evidence of wrongdoing. The
County's, City's, and Board of Supervisors' deliberate indifference to the need for oversight
and accountability allowed the individual Defendants to violate my rights with impunity.

It is important to note that while I ultimately pled guilty under duress to California Penal
Code§ 278.5(a) after 90 days of coercion, the focus of this lawsuit is solely on the
unconstitutional pre-trial detention based on a fabricated threat. Under Heck v.
Humphrey, 512 U.S. 477 (1994) and Leather v. Ten Eyck, 180 F.3d 420, 423-24 (9th Cir.
1999), my claim does not challenge the validity of my guilty plea, but rather the
constitutionality of my pre-trial detention, a matter separate and distinct from the plea
itself. The Supreme Court has held that "a defendant's rights under the Fourth Amendment
are not among the trial rights that he necessarily waives when he knowingly and voluntarily
pleads guilty." Haring v. Prosise, 462 U.S. 306, 321 (1983). The Ninth Circuit has further
clarified that "a guilty plea does not bar a§ 1983 claim for unlawful search and seizure, so
long as that claim does not challenge the search or seizure's effect on the basis for the
conviction," Lockett v. Ericson, 656 F.3d 892, 897 (9th Cir. 2011 ), and that "a guilty plea
does not preclude a§ 1983 claim that a law enforcement officer independently violated the
plaintiff's constitutional rights, even if that violation contributed to the guilty plea,"
Weilburg v. Shapiro, 488 F.3d 1202, 1206 (9th Cir. 2007). Moreover, a district court in the
Eastern District of California has explicitly held that "a guilty plea does not bar a§ 1983
claim for Fourth Amendment violations, including excessive force and unlawful detention,
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that occurred prior to the guilty plea." Menzel v. County of Fresno, 2013 WL 1632637, at *8
(E.D. Cal. Apr. 15, 2013). Thus, my guilty plea does not preclude me from bringing this
lawsuit challenging the constitutionality of my pre-trial detention.




II. Statement of jurisdiction and venue

This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343, as it
arises under the Constitution and laws of the United States, specifically 42 U.S.C. § 1983.
Venue is proper in this District under 28 U.S.C. § 1391 (b)(2) because a substantial part of
the events or omissions giving rise to the claim occurred in San Diego County, California .




Ill. Parties

The main parties involved in this action are:



Plaintiff Robert Emert, an individual residing in San Diego, California. At all times relevant
to this complaint, Plaintiff was a pretrial detainee in the custody of the County of San
Diego. As a whistle blower who exposed unethical practices in the San Diego divorce court
industry (exhibits Q, Z), Plaintiff was subjected to retaliation by the defendants. This
retaliation culminated in an illegal 90-day pre-trial detention based on a fabricated threat
(exhibit I). Although Plaintiff was charged with violating California Penal Code 278.5(a)
(Child Abduction), he was never charged with making a prosecutable threat under the rules
of court regarding the definition of a credible threat. Despite this, Plaintiff was held in pre-
trial detention for 90 days and denied bail, a treatment that stands in stark contrast to
other defendants charged with PC 278.5(a).



Defendant County of San Diego, a municipal corporation organized and existing under the
laws of the State of California. The County operates and manages the San Diego County
District Attorney's Office and is responsible for the policies, practices, and customs that
caused the violation of Plaintiff's constitutional rights .
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Defendant San Diego County Board of Supervisors, the governing body of the County of
San Diego. The Board is responsible for overseeing the operations of the County and
ensuring that County employees, including prosecutors, act in accordance with the
Constitution and laws of the United States.

Defendant Dawn Balerio, a Deputy District Attorney employed by the San Diego County
District Attorney's Office at all times relevant to this complaint. Defendant Balerio is sued
in her official capacity. She was responsible for setting Plaintiff's bail and for the decision
to withhold exculpatory evidence during Plaintiff's pretrial detention (exhibits A, B, E, F, I).
Most egregiously, DAI Pena acknowledged that the DA had no case against Plaintiff and
that he would win if it went to trial (exhibit E). Despite this, DDA Balerio took a statement
out of context (exhibit I) and misrepresented it to the court to keep Plaintiff illegally
detained pre-trial in an attempt to coerce a guilty plea, even though DAI Pena admitted
Plaintiff would win at trial. (exhibit E)

Defendant Luis Pena, a Deputy District Attorney Investigator employed by the San Diego
County District Attorney's Office at all times relevant to this complaint. Defendant Pena is
sued in his official capacity. He was responsible for fabricating the threat that led to
Plaintiff's arrest and for withholding exculpatory evidence during Plaintiff's pret rial
detention. (exhibit A, E)

The actions of DDA Balerio and DAI Pena demonstrate a disgraceful abuse of power and a
blatant disregard for the legal system. Their conduct appears to be part of a larger pattern
of covering up misconduct within the San Diego County District Attorney's Office, which is
an embarrassment to the legal system as a whole .




 IV. Factual Allegations


 A. Chronology of Events Leading to Unconstitutional
 Pre-Trial Detention
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October 4th, 2021 : Due to legal necessity to protect my then 15 year old son, I took full
physical custody of him on October 4th, 2021. (exhibit A, B, Q, Z)

As early as Oct 21 st 2021, I reached out to the DA, CPS, DOJ to make sure I was acting in a
lawful manner. Everyone told me that given the circumstances and my sons age, nobody
was going to drag him away from his dad. (exhibit A)

From Oct 21 st 2021 until Dec 2023, I fully complied with PC 278. 7 and DAI Pena was
provided with all supporting evidence and on Sept 15 2022, DAI Pena told me the DA
should have never taken this case; I had good cause to let my son stay with me to protect
him from abuse; if this case went to trial, I would win. Exact quotes will be below, and the
full transcript provided in exhibits filed under separate cover. A complete audio file will be
provided to the court as well.(exhibit A, B, E, F, I, L, M, N, 0 , Q)

January 3rd, 2023: Despite fully complying with PC 278.7 and legal necessity, January 3rd,
2023, I was arrested like Americas most wanted and given no bail based on a fabricated
threat. For over a year, the DA did nothing because they knew they had no case, and I
would win at trial. (E) Then, a threat is fabricated (I). It was one line taken out of context
from a call I made to the FBI following up on my public corruption complaint I had filed.
Because DDA Balerio knew there was no credible threat within the full transcript of the
call, she took one line out of context and misrepresented to the court the contents of the
actual call and that the call itself was me simply following up with my public corruption
complaint (Q) that the DOJ had forwarded to the FBI public corruption unit (S). DDA Balerio
would then withhold this transcript for 90 days to hold illegal incarceration over my head
until I would be forced to accept a guilty plea deal or stay in jail. I have zero criminal
record, exceptionally strong ties to the community and zero flight risk. This whole thing has
been about my children, and I live with my elderly parents. To hold someone like me on no
bail and not even GPS for 90 days was pure malicious prosecution. In February 2022, DDA
Balerio even met with my son which included exonerating evidence for me that she
withheld from the court. (F)

Being illegally detained in jail for 90 days has shattered my life, my health, my professinal
career and reputation. But, hey, that was these thugs goal. I called out their corruption
and they wanted me ruined for it. I have not seen my daughter now in over two years and
my son in over one year. These divorce court insiders are a disgrace to humanity.
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B. Lack of Credible Threat and Defendants' Knowledge
of Innocence

December 2022, I call the FBI to follow up on my public corruption complaint (I). There
was no credible threat and DDA Balerio and DAI Pena knew it and is why they would not
charge me with a threat. The full transcript is included in exhibits (I) filed under separate
cover but an analysis of it and in comparing it to the standard of a prosecutable threat is
below.

I spoke with DAI Pena Sept 15, 2022 (E). He said more than two dozen times in a round
about way that the DA should never have taken this case; I would win at trial, this case did
not belong in criminal court and if I tried to resolve in family court, the arrest warrant would
not go in. (E) DAI Pena withheld this exculpatory evidence from the court.

DAI Pena said on the arrest warrant (AA)that I kept Bryce from school, would not let him
talk to Bryce; was guilty of PC 278.5(a) when he flat out told me in a roundabout way, I was
innocent under 278.7. In addition to the extensive quotes where DAI Pena refutes his own
words in the transcript of my call with him (E), there are extensive emails (A) that prove that
DAI Pena is guilty of perjury and not just a little, but a lot! These documents will be in
exhibits filed under separate cover but a few will be included below as well for quick
context.

February 2023: DOA Balerio interview my son (F) and then withheld this interview with my
son that exonerates me in many ways. DDA Balerio humiliates herself and destroys her
credibility by misrepresenting to the court the contents of that interview. DDA Balerio told
the court the exact opposite of what actually transpired. I even have a phone call
conversation with my then attorney who said that DOA Balerio flat out withheld this
interview from him and the court (G). Similarly, DDA Balerio withheld the full transcript
that would have easily let me out on bail or GPS. I actually met with the FBI and they said it
was determined I was not a threat. Another huge piece of evidence that was never
provided in discovery. DDA Balerio wants people to believe that after a " menace to
society" is kept on no bail that the final report after an interview was conducted, of the
"menace to society" that she was never given that evidence??? What an unethical chump
to do that to another peaceful human being who she knew was only looking out for his son
and her DAI said as much more than two dozen times (E).
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C. Efforts to Inform Board of Supervisors and City of
San Diego

The San Diego Board of Supervisors, the San Diego DA's office, the San Diego Mayor's
office, and many other agencies were kept informed as I sought justice for myself and my
children. Emails and letters documenting the egregious violations of my basic
constitutional and due process rights were sent to these agencies on 10/21 /22, 12/27/22,
05/17/23, 06/14/23, 08/24/23, 10/04/23, 10/30/23, 11 /01 /23, and 11 /16/23. These letters
are included as exhibits filed under separate cover, but a few excerpts will be provided for
context. (Z)

Despite being made aware of the ongoing misconduct in the District Attorney's office, the
San Diego Board of Supervisors failed to take any meaningful action to investigate or
address the issues. The Ninth Circuit has held that "a municipality may be held liable
under§ 1983 when 'the individual who committed the constitutional tort was an official
with final policy-making authority' or such an official 'ratified a subordinate's
unconstitutional decision or action and the basis for it."' Goldstein v. City of Long Beach,
715 F.3d 750, 762 (9th Cir. 2013). Furthermore, the Supreme Court has stated that
"municipal liability under§ 1983 attaches where-and only where-a deliberate choice to
follow a course of action is made from among various alternatives by the official or officials
responsible for establishing final policy with respect to the subject matter in question."
Pembaur v. City of Cincinnati, 475 U.S. 469, 483 (1986).



The San Diego Board of Supervisors, as the officials responsible for establishing final policy
and overseeing the District Attorney's office, made a deliberate choice to ignore the well-
 documented misconduct and constitutional violations, despite having the authority and
 responsibility to investigate and address such issues. The Ninth Circuit has also
 recognized that "a municipality can be liable for an isolated constitutional violation when
 the person causing the violation has final policymaking authority." Christie v. Iopa, 176
 F.3d 1231, 1240 (9th Cir. 1999). By failing to act on the information provided in th e
 numerous emails and letters, the Board of Supervisors effectively ratified the
 unconstitutional actions of the District Attorney's office and contributed to the ongoing
 violation of my rights.
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Chronological exhibit summary

 The following are some exhibits and excerpts in chronological order. I will of course
 provide complete lodged documents that I referenced in this lawsuit, but this
 Chronological exhibit summary quickly displays the manifest injustice me and my
 children have suffered at the hands of a few unethical in the San Diego Family Court
 and District Attorney ecosystem.


                             October 2013 through September 2019

 I was a devoted stay-at-home father for my son Bryce (now 16) and daughter (now 14)
 from October 2013 through September 2019. This strong parental bond with Bryce
 would become central to events.


                            From September 2019 to February 2021

 Custody was 50/50 between myself and my ex-wife Andrea after our divorce, with me
 initially granted 60% custody since Bryce was extremely attached to me as his stay-at-
 home dad. Bryce remained distraught, repeatedly begging to live primarily with me even
 after the 50/50 arrangement. (X, Y)
 Below is an affidavit from Bryce Emert with his phone number. DAI Pena refused to after
 many times he was given Bryce's phone number by me and others. Bryce filed a TRO on
 his attorney; filed a police report against his attorney; has posted online begging for help;
 has written letters and emails to be heard. Bryce even filed a motion to intervene in the
 family court case just to be ignored by the family court judge who dismissed the motion
 on a technicality. In my transcript with DAI Pena, he acknowledged that Bryce's
 attorney, Matt Cord, had simply aligned with my x wife's attorney, Dave Schulman, and
 not in my sons best interests. (E)
 For an almost 17-year-old young man to be ignored by the courts is absurd and for me to
 be called a guilty felon for protecting my son with his pleas for help is even more absurd.
 (B, C, D)

 Bryce's mom alarmingly signed off on the family courts scam to place my son in a
 "facility" and even today keeps him under threat of being placed in juvenile detention if
 he runs away (H) as can be quickly ascertained when reading or listening to the last two
 calls I had with Andrea Schuck (H). Andrea Schuck further says that one of the reasons
 why she is going to " let" Bryce live primarily with me is because him living with her is
 not good for our daughter. (H) This is also in line with what DAI Pena said when he
 indicated that Bryce's attorney, Matt Cord, had simply aligned with Schucks attorney,
 David Schulman, AND NOT IN MY SONS BEST INTERESTS. (E) The exact quotes
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 for this are a bit further in and the full transcript provided in exhibits filed under separate
 cover.




AFFIDAVIT OF BRYCE EMERT
 I, Bryce Emert, declare the following under penalty of perjury:

 I have personal knowledge of the facts stated in this affidavit and am competent to testify
 to them if the court allows me to do so. I would like to talk to the court but have been
 prevented from doing so, which has caused me so much hardship and pain. I am almost
 17 and I don't understand why my voice is not being heard by the court. I have so many
 friends who have parents who are divorced, and they are heard by everyone.

 The following letters and emails were written by me in my pleas to be heard. Those are
 my words in those letters and emails. They describe me being harassed and traumatized
 and to escape it, I asked my dad to simply live with him to escape the emotional abuse
 and toxic relationship I have had with my mom for lots of my life. She used me in
 divorce proceedings and continues to do so.

 My Dad homeschooled me and I believe I learned more from him in that one year I lived
 with him than three years in the public schools.

 My dad encouraged me to have a relationship with my mom and always has. He has even
 asked her to go on outings. My Dad encourages me to see the best in everyone.

 I have spoken to the District Attorney's office, the police, CPS, school counselors,
 teachers and have even tried logging into court proceedings just to be shut out. I have told
 everyone the same thing. My mom was using me in divorce proceedings, it was horrible,
 and the emotional abuse continues. She holds putting me in facilities over my head. She
 has tried to isolate me from my dad and anyone who stands with my dad. She has shown
 that she hates him more than she loves me.

 Please dismiss criminal charges from my Dad. He did not do anything wrong. He saved
 me per my request and he is a great dad and has always been there for me. My Dad has
 always encouraged me to meet new people and do my best in everything in life. Why are
 the courts trying to keep me from my Dad?

 Please let me go home to my Dad. I will continue to work on my relationship with my
 mom. My dad is not the cause of my issues with my mom. Please call or face time me
 anytime. Please let my voice be heard in court.
 This concludes my sworn testimony. I certify under penalty of perjury under the laws of
 the State of California that the foregoing is true and correct to the best of my knowledge
 and recollection.

 Executed on 11/16/23 in San Diego, CA
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 Bryce Emert 760-492-4289


                                              02/04/21

 Commissioner Patti Ratekin took over the case. Within just one month, she stripped me of
 all legal parental rights without clear and convincing evidence. Ratekin denied my timely
 submitted peremptory challenge against her despite her supervising judge's wife being
 close friends and co- workers with my ex-wife Andrea-a significant undisclosed
 conflict. (T, V, W, Y)
 Ratekin, opposing counsel and my x wife brought in a suspicious "team" including a
 child psychologist to push for placement of Bryce in an unwarranted "facility" or
 " residential home" even though he had no behavioral or disciplinary issues that would
 require that alarming approach. (V) Ratekin denied a timely filed peremptory challenge;
 ignored my federal lawsuit against her; ignored a DV arrest of my x wife; extensive
 witnesses and affidavits. All this information was provided to DAI Pena and he
 acknowledged it and again said more than two dozen times in a round about way that the
 District Attorney's office should never have taken this case and if it went to trial, I would
 win. (E)
 Ratekin was so biased that she threw in a sucker punch of "supervised visitation" the day
 she recused and likely backdated it along with a default judgement that I knew nothing
 about. (exhibits P, T)


 Ratekin recused on 10/04/21. Notice the dates on these two documents. I was in the
 hospital recovering from a widow maker heart attack on 09/29/21 and 09/30/21. Ratekin
 absurdly based "supervised visitation" on the below witness affidavit who was concerned
 with my sons psychologist. That has zero to do with my parental custody but that is how
 desperate Ratekin was to deliver something of a blow to me no matter how ridiculous she
 looks. This will be included in my criminal complaint.
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                 (3) 0   As sat forth In Iha allached Spousal, Partner, or Family Support Ordsr Attachment (lom1 FL-343).
                 (4) III As set fo rth In tho allached sotttemont agreement, stipulation for Judgment, or other written agreemont.
                 (5) 0    Other /spoclly):

        m.O      Property dM6loo la ordorod 06 681forth In the otlochod
                 ( 1) 0  Solllomonl agroomonl, sllpulatlon lor Judgmonl , or other written agreement.
                 (2) 0   Properly Order Attachment to Judgment (form FL-345).
                 (3) □ Other (specify):

        n.   D Attorney foes and costs ere ordored os sol tonh In the ellached
                 (1) 0 Sotllement agreement, stlpulallon for judgment, or other written agreement.
                 (2) □ Attomey Fees and Costs Order (form FL-346).
                 (3) 0 0thor /spaclfy):

        o.   W Other (spec/fy);A•~Y an~ all provision s as se~ forth in, th e attached ~artial Jud~ment . The Courl reserves
                                 Junsdlction over any and a ll issues, either set forth in the Partial Judgment or not raised
                                  in the Partial Judgment.

     provisions. Jur1sdlcllon Is reserved to make other orders necessary to car,y out this Judgment.    9tttt::c:
     Each attachment to th is Judgment Is Incorporated Into this judgment. and the panies aro ordorod lo comply with each allachrnenl's
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                                                                        NOTICE
      Dissolution or legal separation may aulomallcally cancel the rights of a spouso or domestic partner under the other spouse's or
      domestic partne(s will, trust, retlromonl plan, power of attorney, pay-on-death bank account, transler-on-deelh vohlcio registration.
      survivorship rights 10 any propony ownod In Joint tenancy, and any other slmllar property lntorosl. II doos not aulomallcally cancel the
      rights ol a spouse or domestic partnor as beneficiary of tho othor spouse's or domestic panne(s life Insurance policy. You should
      revfow these matters, es wolf as any credit cards, other crodll accounts, Insurance pollclos, rellremonl plans, and crodll reports, 10
      determlno wholher they should bo changed or whether you should take any other acUons.
      A debt°' obllgatlon may be assigned 10 one party as part ol the dissolution of property and debts, but II that party doos not pay tho
      dobt or obllgallon, tho crodllor may be able lo collect from tho other party.
      An earnings assignment may be Issued without addttlonal proof II child, lamlly, partner, or spousal suppon Is ordered.
      Any party required lo pay suppor1 must pay Interest on overdue amounts al the 'legal rate.' which Is currontly 1O percent.

                                                   PARTIAL          JUDGMENT
                                                                    (Family Law)
                                                                                                      EMERT, ANDREA 1130437
Case 3:24-cv-00671-JO-MSB Document 1 Filed 04/12/24 PageID.18 Page 18 of 73




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    DEFENDANT 111:SPONDEM                            l{OD<TI l: nll' rl


                                                                  DECLARATION                                                                                                               I '/FLOI 08~2:'-J

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    U n ux12<,:2 J, I lish: ncd in as :Vlr. Emert. IJr OJ ai:uc and \1r. l:merts c., -wi fc spoke abou t concerns ror Bryce

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                                                                                                                   09/29/21

 After months of excessive harassment/trauma, hearings, and an escalating campaign of
 harassment from Ratekin 's "team," I suffered a massive heart attack requiring
 hospitalization. During this same period, my son Bryce had filed a police repo1t and TRO
 against his cou1t- appointed attorney, Matt Cord. Matt Cord was the one w ho was
 working with Dave Schulman (my x wife's attorney) who went whining to the DA to
 have me arrested even though I was in compliance with PC 278.7. Even DAI Pena said
 that Matt Cord was not working in my sons best interests. Matt Cord was a pathetic
 rubber stamp simply doing what he was told to do by Patti Ratekin and Dave Schulman.
 A witness provided an affidavit showing his child psycho logist collaborating with
 Ratekin, opposing counsel Dave Schulman and his client, Bryce's mom, Andrea Schuck,
 to pressure for unwan-anted " facility" placement based on fa lsified reasons. This is called
 a cl assic kids for cash scam in the divorce industry where many players try to profit as
 much as they can from the suffering of a divorce family in crisis. It is truly despicable.
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 When I put a b1ight light on their unethical behavior, I was crushed by this crew of
 insiders ripe with cronyism.


 f',o-J T.A'lil!Os,MD . Pl'D                          SAN DIEGO                                                                        'M•c K Erron MD,FACC
 JOlln R 8ack1Nn, M.0, fAC.C.            CARDIOVASCULAR                                                                                   AA R. Han"ll!I, MO , PhD
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                 To whom it may concern:


                 ~tr. Robert Emmel"! is under my care for multiple chronic cardiovascular conditions With his
                 permission. I am disclosing to you that he recently suffered from a significant heart attack that
                 required urgent angioplasty and percutaneous coronary intervention with stcnting. As part of his
                 ongoing medical therapy following this significant event, I have prescribed cardiac rehabilitation
                 and stress ,eduction for the patient The patient hos disclosed to me that he is currently
                experiencing significant stress pertaining to active litigation that he is presently engaged in. II<
                 tells me that he has been seeking the assistance of an ADA coordinator to help him through this
                 prcx:css, with the hopes of alleviating some of his significant ongoing stress Cettainly, from a
                cardiovascular perspective, I would support any accommodation that could be made that would
                 help Mr. Emert reduce his stress levels, so that he ts able to achieve a sufficient recovery from
                 this major adverse cardiovascular e vent.


                 If yo u have any further questions, please feel free to contact my office at any time.




              ~  Damian !l.asch, l>O




          EnclMas Office • 320 Santa r o Orr;o, Suhc 204 • Enc.11tas. CA 92024 • Fa, (7601633 3949 • Phone (760) 944•7JOO




                                                                                                        10/04/21

  When finally recusing from the case amidst my appeals of her conduct, Ratekin again
  abused her authority by spitefully issuing an order for supervised visitation of me with my
  children without any factual or evidentia1y basis. Given Bryce's increasingly desperate
  pleas to escape the escalating emotional abuse by his mother Andrea in the aftermath of
  our divorce, I took custody of him that same day for his protection and well-being per his
  pleads for help. I quickly notified CPS, the police, the District Attorney's office, and the
  family court itself about taking emergency custody of Bryce per his own requests. Bryce
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 filed a police report and TRO on his own to get away from his attorney Matt Cord. (A, B,
 E, F, Q)




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     Dear Mr. (mcrt,

      011 17./02/22 a referral was received by Child Welfare Services alleging abuse ancJ/or neglec1 ror your
      child\ren). /\!tor conducting an invostigation, wo have concluded that this referral may bo closed offoctivo
       Ol/24/22.


        If you h ave ;my quc~lion~, o r if you would like rofcrr;ib for ~c rvicc~ in your communily, ploa,o fool froo 10 call
         me at \he number listed below .


         SinrPrPIV.

          ~elen Chacon, Protective Services Worker
           (R<;R\>.nR. 1-f;H


            J/Ull Ocean Ranch Blvd.
           OcoJnsido, CJliforniJ 92056




                                                                10/07/21

 Judge Lorna Alknse takes over haring the case. Alatrningly, with nothing other than
 Ratekins ala1111ing orders and behavior, Alknse thinks I should hand over my terrorized
 child as well. When I ask for a hearing to being witnesses and evidence and for B1yce to
 be heard, s he has a tantrum and proceeds to go against US Supreme Court precedent and
 takes everything from me she possible can and that continues over the course of a month
 and a half where somehow she was able to calendar 4 hearings and a trial to railroad
 orders through shortly before she retires and does not allow me into any of them
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 remotely after I almost died from my massive heart attack. She approved a motion in
 liminee so encompassing that an appeal would be futile.

                                                                     10/21/21

 I email a detailed public corruption complaint to the DA indicating I have custody of
 Bryce and why.



   Fw: Bryce Emert

   Rob Emert <robemert@m sn.com >
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   6) 1 atta chments (5 M B)
   JUDICIAL NOTICF WITH AFr! DAVll S r,d f,


   M ayor, San Diego DA, and other media outlets.

   This minor, Bryce Emerts (14 yrs o ld) rights are being illegally t ra mpled on as are mine, his father, who is
   d oing his best to look out for his sons best interests. I am a w histleblowcr and need some assistance .

   Commissio ner Patti Ratekin of the family court in the Vista Court House here in San Diego has made
   ill egal/ vo id orders and I believe is illegally abusing the syst em for federal title 4 funding. There is zero
   evidence, due process, burden of proof or even a fair hearing for t he illegal and void o rders she made
   regarding me and my two children. The Presiding Judge of San Diego asked me to abide by these illegal
   o rders and when I asked for a fair hea ring with time to prepare for sa id hearing to allow for due process I
   w as t old no and that I needed to abide by the illegal orders before a fair hearing would proceed.
   Obviously, this goes against w hat th e United States Constitution stands for. It appears that the p residing
   judge is trying to cover up a mess that th e Vist a Court House has illega lly made.

   I would not make such bold claims if I could not prove them. There arc VERY CLEAR record s of
   everything. I am a whistleblower that is in the process o f being squashed for daring to stand up for my
   and my children's constituti onal rights. Beca use I have stood up for my rights to be hea rd in a fair trial
   BEFORE my rights are taken away, I have bee n subj ected to illegal harassment the presiding judge's
   o ffice of San Diego.



  COMPLAINT AND RECUSAL BEING SERVED ON PRESIDING JUDGE SMYTH -
  COURTESY

  COPY
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 Rob Emert < robcmc rtfru.rn sn.corn>
 Fri 10/21/2022 11 :33 AM

 To ui s. pcna(cu,sclccla.org < l ui s.penam),sdcda.org >;randy gro ssman(w,uscloj. gov <randy
 grossman(w,usdoj .gov> ;

 petercs tcs@sdccla.org <pcter. cs tesuu,sdcda.org> ;G oria, Todd (Extema0
 <Mayortoddgloria@sandiego
 gov>;Dave Schu man
 <dschu man@msmfami y awcom>;Catie Young <Catie@GYLFAMI
 LYLAWCOM>; Linda Hansen
 <lhansen@msmfamilylawcom>; c tyattomey@sandiego gov <cityattorney@sand iego
 gov>;CityAttyCrimlnfo@sandiegogov < City AttyCrimlnfo@sandiego gov>;
 Sandiegoda(c~sclcda.org

 ALL,

 The below Complaint/recusal motion is a courtesy copy that is being served on:
 Presiding Judge Smyth

 Supervising Judges ofthe San Diego Superior Court Interested Parties
 DCSS
 California State Auditor DOJ
 FBI
 BAR
 CJP
 and a few others.




                                                 02/09/22
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 I get a letter from the DA threatening charge of PC 278.5(a). I call the DA and ask why
 they have not done anything regarding my public corruption complaint I have been asking
 their office for assistance on since 10/2021. (A)
                                       10/04/21 - 01/03/23

 I email and cooperate with the San Diego District Attorney that easily satisfies an
 affirmative defense of PC 278.7 over a charge of PC 275.5(a). The evidence for this is
 overwhelming. (A, E, F)
 So, the San Diego DA does nothing for a year during this time; I am told during this time
 from the DA in an email that my x wife is handling over custody of my son to me; CPS
 has closed its case; police has closed its case; my son is excelling at home school; my son
 has recovered from the trauma of the family divorce court and his mother who was using
 him in proceedings; and ODA Luis Pena tells my many times and in many different ways
 that the San Diego DA never has/had a case against me and if it went to trial, I would
 win. His supervisors tell him when he asks, why are we involved in this case; his
 supervisors tell him the DA's office is just in too deep and they must move forward due
 to pressure from the family court lawyers. This ·is in all in recordings and can't be
 disputed. (E)



                                             09/07/22




DAI LUIS PENA EXACT QUOTES THAT THE DA NEVER
 HADA CASE

 I spoke to DA investigator Luis Pena. He tells me basically that the DA never had a case
 under 278.5(a) because of all the information I have sent their office the almost
 preceding year. See DA emails and DAI transcript of call he had with me. (exhibit A,
 E) I clearly had a defense under PC 278.7 and legal necessity and DAI Pena knew it as
 well and says as much more than a two dozen times. (Exhibit E). Below are EXACT
 quotes from a phone conversation transcribed between me and DAI Pena after almost a
 year of my 15 year old son living with me. The full transcript is included in Notice of
 Lodged Documents exhibit E.




    1. I was in court and complied with everything DAI Pena requested of me.
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      02:16:52 Rob Emert

      Well, that's the thing .

      02 :16:53 OAI LUIS PENA

      That ' s w hy rf you go to court.

      02 :16:55

      That warrants not gonna go in t o the syst em .

      02 :16:57 OAI LUIS PENA




    2. DAI Pena said this to me many times and generally indicated in the call that as long
        as I kept trying to correct in family court, I would not have criminal charges.




  02:21:43 DAI LU IS PE NA

  To know 1s I d on't want t o file charges or r ight at w ar rant for your arrest
  because I believe this sho u ld be handling.

  02:21:50 DAI LU IS PENA

  Family court and not Criminal Court.

    3. DAI Pena again stating this case should never have been in crimin al court and even
        a JUDGE would agree!
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  02 :24:24 DAI LUIS PENA

  But 1f they see a reason of where like.

  02 :24: 28 DAI LUIS PENA

  If 1f the .

  02:24: 29 DAI LUIS PENA

  Judge says. You know what,

  02 :24:29 DAI LUIS PENA

  You're right, he 1s 15 and you guys prove to m e t h at we should n' t even be here because he's saying he
  wants t o be.

  02 :24: 35 DAI LUIS PENA

  With you, Sir.

  02 : 24: 37

  There's n o reason.

  02 :24:38

  For us to be here, th en let 's move forward.




     4. DAI Pena says here that I will probably win if this case goes to trial

  02 :31:08 Rob Emen

  So 1f they kick it over to you guys, I get a t rial w i th a i urv .

  02 :3 1:13 DAI LU IS PENA

  Yeah, but you'r e still you .

  02 : 3 1:14 DAI LUIS PENA

  At the same t ime, you gonna b e fight ing family coun

  02 : 3 1:16 DAI LUIS PENA

  At the same t ime, so you will.

  02 :3 1: 18 DAI LUIS PENA

  Get a tria l.

  02 :31:19 DAI LUIS PENA


  You def1n1tely will get a trial and.

  02:31:23

  Personally, I thi nk you'll win that.

  02:31 :24
  I don't I.

  02 : 31: 25 DAI LUIS PENA
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5. DAI Pena says again, this case does not belong in criminal court.


 02:4 1:53 DAI LU IS PEN A

  To be t hat sho uld neve r have gone t o child abduction unit anywa ys and .

 02:41: 59 DAI LU IS PENA

 You could explatn that too.




6. DAI Pena telling me the family law attorneys are pushing for my arrest and he clea rly is
conflicted about it.
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   01 :4 1: 1 5 DAI LU IS PE N A

    H ere 1n July I ch dn' t.

   O l :4 /: J 6 DAI LUIS PE N A

    I alw ays st a rted looking at thi s case an d t hey've been a tt orney s have
    been commun1c at1 n g w it h each other and li k e I sa,cl t he y 're t he y ,
    t h ey' r e 1ust [He tty n 1u ch JUS t son1-, the only 1nves t 1ga t or w or~   ,n these

    cases t~ey 're lil-se.

    01: 4 7:::!"/ :.>Al LU I~, P EN A

    H ey you ne,ed to writ e a w a r ran t for his a r rest.

    0 1 :4 1:29 DAI LU IS P EN A

    L 1he w ell g,ve me.

    O J :4 1:30 DAI LU IS PE N A

    ti1s file an d I'll rea d 1t.

    01: 4 1:31 DAI LU I~, P E N A

    Tbey're l ike, no, i us l don' t w orry about it

    OJ: 4 1:33 DAI LU IS P EN A




    Jus t , v rite a q~11ck w arran t a n d go on th,; o,-v ,dence w e.

    0 1 .4 /:35 DAI LU IS PE N A

    t-t ;ive our vJe' re.

    OJ: 4 1:36 DAI LU IS PE N A

    L1ko? vv ell, t hat doe<,n' t sound

    0 1 :4 1·38 '.)Al LUIS PE N ,-\

    Doesn't soun d 11~. e anyt h ng that I wan t to do.

    OJ:,I 1 :40 :>Al LUIS PENA
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7. One of many times I encourage DAI Pena to call my son.




    You ca n talk t o hin1 .

    00 :03 :41

    Yo u ca n Face Tim e him as much as yo u wa nt . He's cloi ng ph eno m e n,1 1
    crncl I c1 nd I b as ica ll y h e W c1S do in g w ell up un t il th e divor ce ancl th en

    ba sica ll y I wa s like, hey, h ey ex- w ife, I sa icl le t' s let my y ou kno w , le t' s let
    th e daughter.
    00:0 3:55 Rob Emert
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8. DAI Pena again saying this case does not belong in criminal court.
 02:42:56 DAI LUIS PEN.A.

 They 're gonna look at you.

 02:42:56 DAI LU IS PE N A

 L ike \v o w , the se i t 's tru e.

 02:43·00 D.A.1 LUI S PE N A

 What a,e they ?

 02: 43 :00 D AI LUIS PE N A

 What are th e y gonna prove w hen yo u go t o co urt f or c hild a b ducti o n ?

 02:43:03 D AI LUIS PENA

 Be lik e t he c h tld was 14 when , t o pened.

 02:43:05 DA I LU IS P EN A

 S h o u l d neve r o p en any\vays, and now he's 15 and n o w you \Vanna arrest
 n1e \'Vhen n1y chtld 1:; 1 5 and telling you that this 1s w here he want s t o be .

 02: 4 3:13 D AI LUIS PE N A

 H o w 1s that even g o ing t o b e proven , n COllrt a s a child abdu c tion:>

 02:43: l / D AI LU IS PE N A

 Wh en the reality 1s t hat the ch il d can tell y ol1.




 02 :4 3: 19 0/d LUIS PE N A

 VI/here they want ro .

 02: 4 3: 1 9 D A I LUIS PE N A

 Be because , t · u s t n"1e, the next t h i ng 1s go n g t o happen 1s Dec.Hise the
 p erson here that they're calling a •✓ 1c t , n•.




9. DAI Pena again shows conflict over his supervisor telling him to write a warrant with such
a lack of evidence after a year of investigation.
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 01: 4 9:23 DAI LU IS PEN A

  As the d i strict attorn ey's office. B ut I ' m not gonna write th is war ra nt fo r
  h i s arrest becau se you're te l ling n"le to w r ite a war r a nt beca u se he's not
 co mplying 1.-v1th thing:; and .

 0 1 :4 9:3 1 DAI LU IS PEN A

  I'm I don't .

 01:49:32 DA I LU IS PE r\J A

  Fee l comfort able with t hat now if you want to write ,t with 1t, you know
  you want to f ile.

  01:49:36 DA I LU IS PE r\J A

  A case w i th.

  0 1 :4 9:36 DAI LU IS PE N A

  Ev ide nce you have .

  0 1 :49: 37 DA I LU IS PE N A




  They c a n fil e 11 w1t hoL1t me I d on't have.

  0 1:4 9:39 DA I LU IS PENA

  T o s ay anything to t hem , but.

  01:49:41 DA I LU IS PENA

  If t hey want t o file a ca:;e with o ut me.


 10. DAI Pena asked me to provide to him the transcripts where the family court wanted to
 put my son in a "facility" with no evidence. I did provide him with this evidence as I will
 show in emails later.
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 0 1 58: l4 D AI LU IS PE N A

 H ere 's here's ,vhat happc•ne d

 0 1 .58: 16 D AI LU IS PE NA

 H ere's t he transcri pt.

 01:58: 1 8 DAI LU IS PENA

 You I-n o w what he wa s d o ,ng?

 O J 58: 1 9 D AI LU IS PE N A

 1--f ere's son1e t hing that sh o w s tha t they wa n t ed.

 0 1 .58:2 1 O.A.I L U I$ PE N A




 Tc, send bryce t o the f a cility.

 01·58:23

 H e r e's t he evid ence t o wh at w e have. a n d th at 1s why he feel:; that t hat' s
 good ca u se t o w hat he d id.

 O J : 58· 2 / D AI LU IS PE NA

 And y ou know . here's whe r e w e a re.

 0 1 58:2 9 DAI LU IS PE N J\

 H e's g on n a go handle 11 111 court.

 0 1:58:3 1 Cl.Al LU IS PENA

 L ike we don't n 1en t1on vv hich.
 01 SS· 32 Rob Emer1

 Y e ah, I a C1uillfy 1 1

 0 l SS· 3 3 Rob Emert

 I w ilnt ~ d t o do an e A party, but if I f o l low the Rf'Os the RF O's f or N ovember 1 ? t h but I -.,·ould much I' d
 rather ha v e 1t soone r




11 . Family court attorneys or DA attorneys pushing for arrest and DAI Pena conflicted over
the lack of evidence.
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   I JUSt I do n't believe wa 1t1ng till t he n it 's gon na it' s gon na solve t he the
   pro b le m w it h the atto rneys he re.

  01 :58:51 DAI LU IS PENA

   Th ey're t hey basically want th is wa rr ant w ri tte n and I delayed 1t bec ause
   I n eed t o r eview everything.

  0 1:58:56 DA I LUIS PEN A

  So I'm delaying 1t, b ut at the sa m e t i m e it's 1n your hands now to get
   that.

  0 1:59:00 DAI LUIS PENA

   Date and b asically say hey he re.

  01: 59:02 DAI LUIS PENA

   It 1s, you know , and sending me an e-ma il and t elling me, like, hey, th is 1s
   I'm, I'm getting 1t going.

  0 1:59:09 DAI LUIS PENA




12. DAI Pena acknowledged pending appeals but in the arrest warrant the exact opposite.

  01 :50:4/ DA I LU IS PENA

  So w e ll s.o .
  01 :50:48 Rob Emert

  There' s act ua lly, so I've I' ve learned a lo t be cause t h ere's act ually two pen ding appeals, t oo.

  01 :50:53 Rob Emert

  So if they'r e saying that I'm not r eac h ing o ut to them .

  01 :50:56 Rob Emert

  They're t hey' r e t hey' re j u st lyi ng beca u se I've i f anything , I've commu n ic a t ed a lo t .

  01 :5 1:02 Rob Emert

  And they're i u st angry because they look really it they rea lty.

  01 :5 1:05 DAI LU IS PENA




 13. DAI Pena again sayi ng case should never have been brought to the DA.
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  02:44:00 DAI LUIS PENA

  Play 1t as explaining 1t t o the cou rt that hey, yes, 1t 1s very scar,, t o know that you can be arrest ed for
  doing thi s because your child shou ld have.

  02 :44:11 DAI LUIS PENA

  We should have never been wrt h t h is case.

  02 :44:13 DAI LUIS PENA




14. DAI Pena acknowledged th at Bryce's mom is exaggerating Bryce's IEP. Bryce is
competent and even DOA Balerio acknowledges that in the transcript that she withheld
from evidence as well.

   You need t o court to basically n n 1k• it nght by heanng you r son w hat h e wAnU ,n hu life

   02 .05.44 DAI LUI S PE N A

   Hes l S .

   02 :05:45 DAI LUI S PE NA

   Right

   02 :05: 46 DAI LUI S PENA

   And I tt11nk i f you h•v• to .

   02 .05. 47 DAI LUIS PENA




   Just ,t n com~s down to th•t point , Just so they d o n 't h arass you o n thait n1atte r , It's hke the the b1c.gcst
   point hero ls.

   02 .05 : 53 DAI L U IS PENA

   Th•t he c~n ma._e t h e decision.

   02 :0S: 56 DAI L U IS PE N A

   H i:s IEP is n o t At that level

   02 ·05: 58 DAI LUIS PENA

   He d o esn 't undent and

   0 2 :05: 59 DAI LUI S PE N A



   0 2 .06:03 DAI LUI S PENA

   He· s a young man that 's now 1 5 .

   02 ·06 06 DAI LUI S PE NA




 15. DAI Pena acknowledged that Bryce does not belong in a fa ci lity or residential home.
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     02· 12:S9 DAI LUIS PENA

     I looked ,1 this ind mv biggest thine is

     02 :13:02 DAI LUIS PENA

     Ht doesn't Ht doesn't belooc 1n somt residential pl1ce So for mt to see that your son's going b1ck to




16. DAI Pena acknowledged that Bryce is of age and competency that he should be able to
choose.


   00:10:57 0/\I LUIS PE NA

   And and I get you about the.

   00:10:58

   Age, becau se that wa s my first qu estio n.

   00:11:00

   Like, why are we?

   00:1 1:01

   Involved, th ey'r e like wel l.

   00:1 1:02

   W e're too deep in it.

   0 0:1 1:03

   So we can't, we can't turn around now .

   00:11 :05

   I' m like, why are we even involved in thi s case?

   00:11 :07

   I' m like, we don't ta ke anything over 14.

   00:11 :09

   I sa id it doesn't ma tter if the child, the child.

   00 :11 :16




17. DAI Pena acknowledged that I had Bryce in home school although he indi cated
otherwise on his arrest warrant a month or so lat er.
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  !His as far as what we 're cons id erin g as fa r as I think what was he in in
  school, you r home schooling hirn, right?

18. DAI Pena acknowledged that possible criminal charges are based on a default
judgement only which is odd.



  00:13:20 Rob Emert


  And wh en you ta lk to hi m, FaceTime him.

  00: 13:22

  You' re gon na be like you're gonna be.

  00:13 :23

  Oh my gosh, wh at a sw eet boy.
  00:13:25 Rob Emert




  00:17:05 Rob Emert

  They're only based on defau lt judgments .

  DAI LUIS PENA

  Exactly


19. DAI Pena acknowledged th at it is odd for the DA to take this c ase on and his
supervisors tell him to proceed be cause they are simply in too deep.
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  00:20:02 DAI LUI S PENA

  It had no thin g to do, but if th e child was 14, I was 15.

  00:20:05 DAI LU IS PENA

  It' s like, w hy are w e tak ing t his?

  00:20:07 DAI LU IS PENA

  Like, I do n't see why and.

  00:20 :08 DA I LUI S PENA

  I'm ju st told like w ell.

  00:20 :10 DA I LUIS PEN A

  We're like t oo deep.

  00:20:10 DAI LU IS PENA




20. DAI Pena acknowledged that either the family court lawyers and or the DA lawyers are
pushing him to file the arrest warrant.
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 00:20:10 DAI LUIS PEN A




 In it now and th e attorneys.

 00:20:12 DAI LU IS PENA

 Pressure to fi le charges crim inal charges.

 00 :20:1 5 DAI LUIS PENA

21. DAI Pena acknowledged that it is odd that the DA is pursuing this case at all.

 02:46: 11 DAI LUIS PENA

  Because he called me and I to ld him.

  02 :46: 12 DAI LU IS PENA

  And here it is, th ey may still.

  02 :46:14 DAI LUI S PE NA

  Say, well, we're gonna still charge .

  02 :4 6 :16 DAI LUI S PENA


  I'm like well.

  02:ll 6:l 7 DAI LU IS PENA

  We're not probably charged.

  02: 46:17

  For all these other people, So 1,-vhat the hell are you doing th is?
  02 :4 6 :20 DAI LU IS PENA
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22. DAI Pena acknowledged that the family c ourt lawyers are pushing the DA for an arrest
warrant.


  Wel l, because t hey keep pushing our attorneys, their attorneys keep
  pushing our attorneys and ou r attorneys.

  02: 4 6:29 DAI LU IS PENA

  That's what I see when people keep pushing them.

  02: 4 6:3 1 DAI LU IS PENA

  And people keep cal ling and harassing t hem.

  02: 4 6:33 DAI LU IS PE NA

  Then they file charges.

  02:46:34 DAI LU IS PE NA

  It 's that squeaky w heel, ma n.

  02:46:35 DAI LU IS PE NA

  Sq uea ky wh eels, sq u eaky wheel.

  02: 46:36 DAI LU IS PENA


23. DAI Pena coaching me on what to say to th e judge as Pena clearly knows there is
something wrong with this case.

  0 2:53: 30 DAI LUIS PENA

  You m ake it simp le, st raightforw ard of of ho w sim ple th lS ca se 1s.

  02 :53: 35 DAI LUI S PENA

  Of how we shouldn' t be her e.

  02 :53 : 37 DAI LUIS PE NA

  How he can speak fo r him self and

  0 2:53 :40 DA I LUIS PENA

  That w ~v. th e Judge.

  02:5 3:4 1

  Is hke , w ell, it's kinda of right, w hy are we here ag.iin.



 24 . DAI Pena aga in ref erences th at thi s case does not belong in criminal court.
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  02:54: 4 2 DAI LU IS PENA

  Whereas like w hy they don't wa nna arrest you then?

  02:54:45 DAI LU IS PENA

  They shouldn't even have the casei n the first place .

  02:54:4 7 DAI LU IS PENA

  They should n't h ave accept e d your case because he was 14 when whe n
  th is all sta rt ed on paper.

25. DAI Pena clearly has issue with just finishing the "damn warrant" for those who want to
criminally prosecute me.
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   00:27:12 DAI LUI S PENA

   W ell, ju st finish the damn warrant.

   00:27 :14 DAI LUIS PENA

   And don't worry about it.

   00:27:15 DAI LU IS PENA

   And I'd love to say, you know what?

   00:27:19 DAI LUI S PENA

   You asked m e not t o reach out to him.

   00:27:20 DA I LU IS PENA

   He reach ou t to me.

   00:27:21 DA I LUI S PE NA

   So there's t hat.

   00:27:22 DAI LUI S PENA

   And I'm not gonna.

   00: 27 :24 DAI LUI S PE NA

   Not speak with someone.

26. DAI Pena clearly implies if I tell the judge the correct thing, the judge would agree this
whole thing is a farce and a sham.
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 02:54:53 DAI LU IS PENA

 And ,n that w ay, at least, the Judge can see .




 02:54:55 DAI LU IS PEN A

 Tha t and k,nd of fig ure out like, hu h?

 02:54:58

 You are right.




27. DAI Pena clearly stating that the family court lawyers don't have Bryce's best interests
and have aligned themselves with my x wife attorney, Dave Schilman of Schilman and
Moore. Dave Shilman is a con man who conned my x wife's family out of over 300k.


  00:29 :12 DA I LUI S PE NA

  They have biases because they' ll start beca use right now I t hink they
  lined up with with your ex-wife. I don't believe th ey'r e strictly j ust by
  themse lves trying to do th e best for him.

  00:29 :20 DAI LUI S PENA

  I think now they line line t ogeth er with your basically ex wives attorn ey
  and now they're trying to put so meth ing t ogeth er .

28. DAI Pena acknowledged that Bryce is not as incompetent as his mom is trying to make
him out. ODA Balerio met with Bryce and there is a recording that proves Bryces
competence and even DDA Balerio complements Bryce as does the hundreds of people
who have seen that interview that DDA Balerio withheld from evidence. Luckily, there was
a recording of that interview.
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  Needs so much usistance th at needs to be somewhere and it needs like that Is what your wif e's
  pa inting u p bryce t o be some special n eeds kid that can 't even live by h imse lf .

  02 :SS:06 DAI LUIS PENA

  Like, like, and that's what I'm read mg.

  02:SS:07 DAI LUIS PENA

  And I'm like, really like Jesus.

  0 2 :SS:09 DAI LUIS PENA

  Is she is she'

  02 :SS:10 DAI LUIS PENA

  I s she st ill claiming t h at nonsense>

  02 :SS:13 DAI LUIS PENA

  Yes . Ohh gosh wow.

  0 2:SS:15 DAI LUIS PE NA


29. One of many times I offer DAI Pena to talk to Bryce.

     01:06:46 Rob Emert

     So you want to talk t o him?

     01:06:4 7 Rob Emert

     You call him as much as you want o n .

     01 :06:48 Rob Emert

     And and I won't be there, you know .

     01:06:50 Rob Emert

     You know, he's got his, you know, he's.

     0 1:06:5 1 Rob Emert

     Got his Face Time, you know, call him as.

     01 :06:53 Rob Emert

     Much as you want with that.

     01:06:54 DAI LUIS PENA

     Right.


 30. DAI Pena ac knowledged th at I w as still w orkin g o n fi xin g this issue in f amily court but
 indi cated the exact opp osite on the arrest wa rrant.
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  01:08:05 Rob Emert

  So I have a .

  0 1 :08:06 Rob Emert

  I h a ve a court h earing i n N ovember .

  0 1:08:09 Rob Emert

  But I'm p r e tty s ure I h o p e I hope I 'm w ron g .




  01 :08 : 1 3 DA I L U IS PENA

  W h en In November , do y ou have t he , cou rt hear ing a nd wheres t hat court ?

  0 1 :08: 1 5 Rob Emert

  Court i t 's t he c e ntral courthouse. November 17th.

  01 :08 :23 Rob Emert

  No. tha t 's in a city w ell .

  01 :08:24 DA I LUIS PE N A

  O r a re y o u t alking county t he c ity ?

  0 1 :08: 26 Rob Eme rt

  Yeah, the t h e family court .



31. DAI Pena acknowledged that I didn't do anything t o warrant this c rimin al c harge other
t han "pissed th em off".

   01:12:03 Rob Em ert

   And seriously, yo u shou ld ask these knuckleheads.

   01:12 :06 Rob Emert

   What d id this guy do fo r you guys to ta ke his right s aw ay ?

   0 1:12:10 Rob Emert

   Th ey don't have anyt hing.

   You pisse d t hem o ff DAI LUIS PENA



32. DAI Pena acknowle dged th at his supervisors did not want t o hear the t ruth or get
 information t o exonerat e m e.
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  01:18:25 DAI LUIS PEN A

  Hey, Robe rt ca ll ed me.

  01 : 18:27 DAI LUIS PEN A

  I didn't reach out to him beca use they didn't want me to reach out to
  you, and so he rea ched out to me and we had a conversa tion.


33. DAI Pena again acknowledged that the DA should never have taken this case.

  01 :20 :30 DA I LUIS PENA

  Th is evid ence I.

  01:20:33 DA I LU IS PENA

  The biggest th ing is also.

  01:20:35 DAI LUI S PENA

  Put out there .

  01:20:36 DA I LUI S PENA

  That your son is 15 and he wa s 14 wh en thi s st art ed and there was no,
  th ere was no reason for us to eve n open th e case .

34. DAI Pena again acknowledged that he does not believe Bryce to be the disability case
his mom his making him out to be and this is confirmed by ODA Balerio with Bryce in
February 2023 that she withheld from evidence.
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  01 :20:49 DA I LUIS PENA

  And I know th ey're gonna try t o n1 ake a.

  01 :20:50 DA I LUIS PENA

  Big deal about you r so n.

  0 1: 20:53 DA I LUIS PE NA

  Talking about son Ohh, disa bilities here di sabilities th ere, but I m ea n you
  co uld simply ju st put th e IEP does not raise th e level of his, you know
  spectrum to that level like there's no reason.

  0 1: 21 :02 DAI LUIS PE NA

  There's many kids th at are t hat ar e in th e spectrum. There are in IEPs
  and I do n't believe that th e DA's o ffi ce is is doing anything about it, you
  kn ow, but here for my son .

35. DAI Pena acknowledged that he believed that after a year of investigation that "there is
no reason" for me to be criminally prosecuted.


  01:21:2 4 DAI LUI S PEN A

   The big thing is.

  01:21 :26 DA I LUI S PENA

   There is no reaso n .

  01: 21 :27 DA I LUI S PE NA

   For th em to ta ke any r ights from yo u as a parent and as fa r as is it wrong
   t o and and som etim es you kn ow , w e gott a ea t ou r w ord s some tim es,
   but it's the idea of saying apologizing to th e court, t o eve ryone here.

36. DAI Pena asks for the evidence regarding the "facility" narrative for Bryce . DAI Pena
 acknowledged that this is good cause to protect me son.
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  01:21 :59 DAI LU IS PENA

  Here are the reasons and I th ink w e.

  01 :22 :01 DAI LU IS PENA

  Nee d th at eviden ce?

  0 1: 22 :01 DAI LU IS PE NA

  To prove th at they want ed t o put thern in a faci lity, w e need t hat .


  01:22:36 DA I LUIS PENA

  Fact s thi s is what it was sa id here it is on paper.

  01:22 :39 DAI LU IS PENA

  Here it is on here and that is why and I bel ieve I have good cause.

  0 1: 22 :42 DAI LU IS PENA

  In in doi ng what I did ?

  01:22:4 3 DAI LUIS PENA

  And you you ca n give, you can f ind evidence online to prove your your
  side of it.

  01:22 :4 8 DA I LUIS PENA

  To say th at you did have good .


37. DAI Pena again stating that this case should not be in criminal court.

   01:23:39 DAI LUIS PE NA

   I think w e've told plenty of parents, your sons of age, that he can tell th e
   court where h e want s to go.


                                                     01/03/23



 I am arrested like Americas Most Wanted and thrown in jail for 90 days with no bail. A
 "threat" was manufactured to keep me in jail to coerce a plea deal. ( exhibit I) I was told if
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 I took the plea deal, I could get out of jail and my son could come home (G, H). After I
 took the plea deal, I was basically called a sucker.
 This summary analyzes whether statements made during a call to the FBI meet the criteria
 for criminally prosecutable threats that could justify holding someone without bail. To
 incarcerate someone without bail for making threats in California, the prosecution must
 prove beyond a reasonable doubt:


   1. The defendant made a credible threat of imminent violence that would put a
       reasonable person in fear of harm.
   2 . The defendant had specific intent to carry out the threat.
   3. The threat was not protected speech under the First Amendment.(California
       Penal Code Sections 422, 1270.1)
 Based on the transcript, the caller's statements do not contain the required elements and
 intentionality to be considered prosecutable threats rising to the level of denying bail
 under California law. DOA Balerio and DAI Luis Pena knew they could not win a case of
 278.S(a) due to 278.7 and is why they did nothing for a year. Then, they are
 opportunistically; unethically; illegally, used the false pretense of a "threat" to illegally
 incarcerate me pretrial to coerce a guilty plea. So, not only did I not get the plea deal I
 was promised as is evident in the transcribed calls, but I was also illegally detained for 90
 days as punishment for being a whistle-blower and standing up for me and my children's
 rights in family court.


 Between October 2021 and January 2023

 While I homeschooled Bryce (N), he thrived, and his mental health improved dramatically now
 that he was in a stable, loving home environment again after experiencing emotional trauma
 and volatility with his mother.

 DAI Pena says in his Dec 2022 arrest warrant that: 1. I kept Bryce out of school; was not
 trying to resolve in family court; was not letting anyone talk to Bryce; was not cooperating
 with the DA's office; maliciously withheld Bryce. Just with a fraction of the evidence presented
 so far, DAI Pena clearly has zero credibility at this point. (A, E, K, M, N, 0)
 Everything that DAI Pena put on his arrest warrant is refuted by his own words in the
 transcripts (E) and in a few emails (A). Not only does DAI Pena refute his own words in these
 statements, he does so MANY TIMES.

 In the email below you can see I was keeping DAI Pena updated that I was falling over myself
 trying to resolve it in family court and he even acknowledged this in the transcribed call I had
 with him. (E)
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   Re: Em ert: Ex Parte notice 12/13/22 1:3 0

   Rob Emert <robemert@rnsn.com >
   M o n 12/ 12/ 2022 3:3 1 PM
   l o :Sarah Bear < sbear@msrnfarrnlylaw.com >; Dave Sch ulman <dschulman@rn sm fam1lylaw .com >; h11s.p ena@sdctla.ar9
    < 1111s pcna@sdccl11.or<p ;petc r c stcs@sd cd 11 o rg <peter estc,@scicda.o rg >:s11mrncr @s11mmcrstcphan.com
    < surrnner@s11Jnmcrstcphan.com > ;Gloria. !odd (Lxtcrnal) < Mayortoddgloria@sand1cgo.go v >
   Cc:Andrea Fmert <ae1ner1@carlsbatl11sd.ne1>
   Bc c M ark Ficlc ltnan <markc fidclman@grnad com >

   M s. Bear,

   Below is the conformed copies for tom orrow's ex pa rte at 1:30.

   f.i} CONFORM ED COPIES FOR 121322 EX PART[ HEARIN G 130,o.Q.f


   I am fine pushing the ex part e unti l the next day and left a message to the Judges clerk to th at effect.

   The FBI agents have ca lled the DA investigator. I am working with the San M arcos Sherriff as well.

   Yo ur ofiice trying to use its connections at the DA's o ffice to get me thrown in jail won 't work out well for
   your office or your client in the long run.

   Its absurd/illegal/unethical telling and expecting me to follow default judgment orders where me, my
   evidence, my witnesses, and ADA coordinators were not allowed into th e hearing and given the blata nt
   u nethical/shady/malicious/retaliatory circumstances surrounding that default judgement, it will not hold
   up when an honest person reviews.

   A STAY or ex parte hearing is the only fair and equitable solution. Trying to th row me in jail before I even
   get a fair hearing is dispicable and good luck with that.

    Bryce, who is 15, is doing fa ntastic so please leave him alone.

    Rob Emert


 Below is just one of many emails I sent to DAI Pena to give him the requested information
 that a team of family court thugs were trying to place my son in a facility. As you
 remember in the DAI Pena quotes, he indicated this was "good cause" to hold onto my son
 until it got resolved in family court.
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     From: Rob Emert
     Sent: Friday, September 16, 2022 4 :54 PM
    To: luis.pena@sdcda.org <luis.pena@sdcda.org>
     Subject: Emert, Bryce - new DA investigator



     Mr. Pena,

     Thank you for your professionalism during this difficult time for me and my family.

     Per our discussion, I feel the below information may be helpful to your investigation per your
     questions.

     The documentation/evidence is so overwhelming that Patti Ratekin was unethically and illegally
     trying to fabricate a record to fa cilitate her placing my son in a residential home, it would be very
     time consuming to cover it all in this email. However, I will outline all of it for you and point it out
     in all the documentation you have from my email with the documents link.

     In the meantime, and just for starters, Comm. Patti Ratekin said it on the FIRST day she met
     parties. Below is a snippet of that from the court transcript. You have the full transcript in my
     documents. Also, I attached the audio recording for the LAST day Comm Patti Ratekin heard
     this case when she finally recused herself where she clearly states she was going to shut down
     the ex parte hearing to find a facility to place my son in. It is truly INSANE. The mountains of
     evidence to document this between the first and last day Ratekin heard the case is simply
     overwhelming and the fact they are trying to deny it is so absurd it is almost unbelievable.




 This is just one of many emails were I was offering DAI Pena opportunities to speak with
 Bryce Emert.
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    RE: Custody of Bryce Em ert (15) - MORE DENIAL OF RIGHTS UN DER COLOR OF LAW
    AND OBSTRU CTI O N OF JUSTICE AT THE SAN DI EGO FAM ILY COURTHOUSE

    Rob Em ert < robemert@ m sn.com >
    I hu 10/13/lOa 11 11 i\M

    To: luis.p ena@ sdcda.org < luis.pena@sdcda.org >
    Cc: peter.estes@sdcda.org < peter.estes@sdcda.org > ;Gloria, Todd (External)
    < Mayortoddg loria@sandiego.gov> ;Dave Sc hul man <d sc hul man@msmfamilylaw com >;Cat ie Young
    <Catie@GYLFAMILYLAW.COM > ;Matthew Cord, Esq < MCord@apjohnsonesq.com >;Linda Hansen
    < l hansen @m smfamilylaw.com > ;Norton, Crystal (Child Support)

    < crystal.norton2@sdcountyca.gov > ;cityattorney@sandiego.gov

    < cit yattorney@sandiego.gov > ;CityAt tyCrim lnfo@sandiego.gov
    < Ci tyA t tyC rim Info@sandiego.gov >: Sa ndiegoda@sd cda.org
    < Sandiegoda@sdcda.org > :l nfo@judi cialwatch.o rg < l nfo@judicialwatch.o rg > ;bduncan@reveal ncws.org
    < bduncan@reveal news.org > ;b ar@sdcba.org < bar@sdcba.org > ;john.shiff man@reuters.com
    <john.shiffman @reuters.com > ; publicmeeting@cjp.ca.gov < publicmeeti ng@cjp.ca.gov >; ldan. lvri@doj.ca.gov
    < l dan.lvri@doj.ca.gov > ;nicole.rooney@sdcda.org < nicole.rooney@sdcda.org > ;davidloy@aclusandiego.org
    < david loy@aclusandiego.org >:mzahncr@cdaa.org < mzahner@cd aa.org > ;ta nya.sie rra @sdcda.org
    < t anya.sicrra@sdcda.org >

    Q I attachments (3 MB)
    3 moms who support robert pd f, 100620 status con ference pd', and re a beinq rough •.v1 th bryce pdf, kind a stupid email p d f.
    ~011Hlldl Y of , c c. c n t c.ou1 t pl cd d111 u pd(. ~upp o rtu <J du,~ rt.:gd rd11HJ 11• 111,!l 11 w of ,trrt:) I <11H.J f J~O pd f, whttt d11drt!d Uuc~ tu Ki d~
    parents fri end s w ho disagree w ith her pd f.


    M r. Pena, (San Diego District Attorney Investigator)

    I left a message for you if you would like to meet wi th 0ryce, w ho is 15 yrs o ld, and I. Of cour se, you ca n
    speak w it h Bryce alo ne, but it w ill n eed t o be at a neut ra l location . Bryce has spoken with po lice, CPS
    and nu merous oth ers alone that can be documented. If you w o uld like this information, please let me
    know. Bryce has an !phone, so pl ease call him anytime you like.

    I filed th e ex p a rte th at could have eas ily solved the issue regard ing Bryce's cust ody. Bryce is 15, he i s
    compet ent t o make t h e decisio n t o live w ith m e and the evidence is overw helm ing that it is i n his best
    in terest s. Judge Robinson denying it is just mor e d enial of r ights under color of law, obstruction of
    justice and w ith the evid ence she w as present ed, it is clear she does not give a crap about th e w e ll-being
    o f Bryce. All th e eviden ce points t o Bryce (15 ) living with me and I have a c lear track record o f always
    he lping Bryce achieve his own per sonal b est. Bryce's mom has called police, CPS and a comp any ca lled
    safety first on h er own son because she was hav ing issues with Bryce . Th e issues were/are not Bryce .


 Here is an email from Bryce himself, now 16, telling his teacher about the issues and abuse
 at the hands of his mother.
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  (No subject)
  Bryce Emert <emertb860@carlsbadusd.net>
 Thu 9/7/2023 9:33 /W,

 To:Paul Isbell <pisbell@carlsbadusd .net >;tsemert@msn.corn <tsemert@msn.com>;Dylan Mayer
 <dylan.mayer@carls badu sd .net>;dyla n.mayer@ca rls bade a.gov <dyla n .mayer@carlsbadca.gov >
  Dear Mr. Isbell,

  I hope this message finds you well. I regret to inform you that I was unable to attend school today due to
  the need for some rest. I wanted to provide an update on my progress with assignments in your class,
  as it's taken me a bit longer to complete them recently.

  The main reason for this delay Is some challenging circumstances at home. Unfortunately, I've been
  experiencing emotional abuse from my mother, which has made it difficult to focus on my schoolwork. To
  make matters more challenging, I've been living In our garage, which is far from an ideal environment for
  studying.

  In an attempt to create a more conducive space for my studies, I began working in the living room.
  However, this change seemed to trigger more frequent conflicts and arguments with my mother. Sadly,
  things have only escalated since the beginning of the school year.

  I wanted to cc my grandma on this message, as she has been a witness to the difficult situation at home
  and can confirm the chalenges I've been facing .

  Please know that I remain committed to doing my best in your class. My goal is to not only pass but
  excel in my studies. Your extra help and genuine concern for my well-being mean a lot to me, and I want
  to express my gratitude for your support.

  Thank you for understanding my situation, and I look forward to making progress In your class.

  Sincerely, Bryce Emert




 Here is the homeschool information that was given to the DA's office several times.
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  Emert, Bryce - Homeschool information

  Rob Emert < robemert@rnsn.com >
  Wed 8/24/2022 12 52 PM
  l o :steven.mcrntosh@sdcda.o rg < Steven.Mclntosh(wsdcda.org >
  Cc-Andrea Em ert < acrncrt @carlsbadusd .net >


  Ii) 2 attachments (506 KB)
  BRYn l:M t RI HOMESCHOOI 91 H GR/\01:.pcH, BRYCE !:MERI HOMFSCHOOI 10TH (i R/\DL pclf,


  Mr. Mcintosh,

  Attached are the documents that have been mailed to the appropriate state representative regarding
  homeschooling for last year and this year.

  If any other parties try to indicate Bryce is truant from school and harass me with calls to CPS, the
  school, or the police, I will consider it more harassment and add to my claims I am currently working on.

  Bryce is doing fantastic and anytime you want to talk to him via facetime, please do. If you want to meet
  face to face, I would simply ask for a neutral 3rd party place to do that.

  Thank you for your professionalism during this time.

  I would suspect by what I know of the corrupt divorce players handbook that the next move by Andrea 's
  attorney will be a contempt of court motion with the accompanying bench warrant since it appears the
  DA's office is not going to prosecute regarding the absurd default judgment filled with lies and
  corruption.

  I never thought in a million years I would have a hard time getting a fair hea ring in our United States of
  America. I know there are lots of good people in this process as well and I can only hope they pick up
  my case and do what is right, lawful, and morally correct.

   Rob Emert
   760-612-9328




                                                      February 9, 2022

 After receiving a felony threat letter from the DA 's office, I called and was cooperating
 with the San Diego District Attorney's office for almost a full year, providing extensive
 documentation to show I was properly acting under California Penal Code §278.7's
 exceptions for protecting children from harm. The evidence overwhelming proved the
 later filed charges under §278.S(a) were invalid and unfounded. DA investigators
 suggested they did not have a legitimate case and that my ex-wife Andrea was finally
 agreeing to joint legal custody after months of my efforts to get a court heaiing.
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   Rob Emert < robemert @msn.com >
   Sat 4/16/2022 2:13 PM
    To: Rob Emert <robemert@msn.com>



    Sent from my T- M o bil e SG Device
    Get Outlook for Android



    From: M cInt osh. St even <Steven.M cln tosh @sdcda.org>
    Sent: M onday, April 11, 20 22, 7:43 AM
    To: Rob Emert <robemert@msn.com >
    Subject: Update

    Good Morning;

    If you could give me a ca ll, your ex-wife is willing to give over custody of Bryce to you ...

    Thanks
    St eve

    Steven M cIntosh
    District Attorney Investigator Ill
    San Diego County District Attorney's Office
    Bureau of Investigation/Family Protection Detail
    330 W. Broadway, San Diego, CA 92101
    Desk: (619) 515-8638
    Steven.mclntosh@sdcda.org




  Despite all the evidence provided, on January 3, 2023, I was vindictively arrested and
  charged under §278.S(a) based on a fabricated allegation of an out-of-context "threat"
  made during a call to de-escalate the situation. (I) This allowed pre-trial detention without
  bail to punish and attempt to coerce me. After over 90 days in jail, I was coerced into
  signing a plea agreement with the threat of continued jail time including unfulfilled
  custody arrangements. (G, H)


  Since my release in April 2023, I have continued to actively pursue exoneration through
  what evidence is allowed in state and federal courts. However, the family and criminal
  comts appear to be playing off each other to block my proof of factual innocence, with
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 the family and appellate court simply refusing to acknowledge smoking gun evidence
 right in their faces.

 I remain resilient in my quest to simply have a fair opportunity to present the extensive
 evidence that I acted lawfully as a father to protect the well-being of my son at his own
 pleading, not with any ma licious criminal intent. The truth and justice continue to be
 obstrncted by apparent conflicts of interest and lack of impartiality.



No Malice


     FYI
     Rob Emert < robemert@msn.com >
     1hu 9/16/2021 8:10 PM
     To.Andrea Emert < aernert@rnrlsbadusd.net >

     Andrea, seriously, these scum bags don't ca re about our kids or you. Their despicable strategies have
     put both our kids in harms way. You really need to help me make this right for our kids. They both need
     to get ou t of this.

     You should sue Shilman and get your money back. While I am not happy with you for many rea sons, I
     still truly w ish the best for you. I am sorry for lots during our marriage.

     Please read these articles.

     R



 Clearly, no malicious intent. And, as you can see below, I was constantly trying to
 resolve at 50/50 with the children going back and forth between our homes on an as
 needed bas is.
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    Fw: progress, who would have thought....

    Rob Emert < robemert@msn.com >
    Mon ~/),1/ )C)) 1 I\ ~,I AM

    To: Andrea Emert <aemert@carlsbadusd.net >
    Andrea,

    It does not get anymore basic than this. Your attorney draws up the stipulation and most times the
    Judge says great and adds the stipulation to the ord ers. If he does not do this within 24 hours I know
    you guys are j ust jerking me around and I will simply do what I feel is in the kids best interests. I spoke
    to many about this including th e people in the high conflict class. This is the best and easiest way to go.

    50/50

    If there Is a dispute regarding anything that can't be resolved by Andrea or I going forward, we would
    agree to a child custody advisor/ coordinator to make t he decision and that decision would be binding
    unless both Andrea and I disagreed with the advisor and came to a different agreed solution. This child
    custody advisor/ coordinator will be a third party agreed to by both parties. This custody advisor does
    not need to be picked immediately but both parties do agree they will agree to choose one prior to
    submitting this stipulation to the court.

    Rob


 I was always trying to resolve custody issues in an amicable way. I even asked Andrea Schuck
 to go on multiple Disney World vacations with me and our children after the divorce was final
 just as Schuck was offering many times for us to do family dinners and to go to church
 together. (H) There was clearly no malice. All anyone needs to do is listen to the two phone
 calls between me and Andrea Schuck (H) to realize I never had any malice, and she knew it and
 so did ODA Balerio who withheld her interview with Bryce (exhibit F) and the long
 conversation I had with DAI Pena (exhibit E) who also w ithheld that conversation.


This is just one of the times I was trying to be amicable with zero malice towards my x wife and
invited her to Disneyworld. Also, in the call transcripts between me and my x wife (H), anyone will
see there is clearly no malice on my part. When I asked my x wife what did I ever do with "malice"
and her only thing she could point to was that I could not make our then 15 year old son call her. It
should be noted that my x wife does not "make" our 14 year old daughter call me but that is not
malicious according to my x wife. The double standard is simply absurd and this kind of logic that the
DA's office has clearly backed has made a mockery of our justice system and has shattered my life.
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  00:53:54 SCHUCK

  I don't want to go to Florida, so please don't

  ask. 00:53:57 EMERT

  Just that that would have fixed a lot then.

  00:53 :58 EMERT

  11 don't feel it.

  00:54:01 SCHUCK




                                                                                                                53




  No, no, no, no, no, no, dude, I couldn't even like, look at you. I'm not OK. I'm not note. Let' s just leave it.
  Leave them laughing.


 I flat out asked my x wife, Andrea Schuck, what she thought any action of mine could be
 considered "malicious" and her only response was that I could not force our then 15 year old son
 to call her. (exhibit H)




V. Municipal Liability Under Monell


A. Legal Standard for Municipal Liability

Under Monell v. Department of Social Services, 436 U.S. 658 (1978), a municipality can be held
liable under 42 U.S.C. § 1983 when the execution of its policy or custom inflicts the
constitutional injury.
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A plaintiff must show that (1) the municipality had a policy, custom, or practice that amounted
to deliberate indifference to the plaintiff's constitutional rights, and (2) the policy, custom, or
practice was the moving force behind the constitutional violation.




B. Specific Policies, Practices, or Customs Causing
Constitutional Violations

The County of San Diego, the City of San Diego, and the San Diego County Board of Supervisors
had a policy, practice, or custom of failing to investigate or discipline prosecutors for
misconduct, even in the face of credible complaints and clear evidence of wrongdoing.

This policy, practice, or custom created an atmosphere of impunity that allowed Defendants
Balerio and Pena to violate Plaintiff's constitutional rights without fear of consequences.

The municipal defendants' failure to provide adequate oversight and accountability for
prosecutorial misconduct was the moving force behind the violation of Plaintiff's Eighth and
Fourteenth Amendment rights.




C. Deliberate Indifference to Constitutional Violations

The San Diego Board of Supervisors, the San Diego DA's office, the San Diego Mayor's office,
and many other agencies were kept informed as Plaintiff sought justice for himself and his
children. Emails and letters documenting the egregious violations of Plaintiff's basic
constitutional and due process rights were sent to these agencies on 10/21/22, 12/27/22,
05/17/23, 06/14/23, 08/24/23, 10/04/23, 10/30/23, 11/01/23, and 11/16/23. These letters are
included as exhibits filed under separate cover, but a few excerpts will be provided for context.
(Exhibit Z)

Despite this notice, the municipal defendants failed to take any meaningful action to investigate
or address the misconduct, demonstrating deliberate indifference to the violation of
constitutional rights.
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The County of San Diego, the City of San Diego, and the San Diego County Board of Supervisors
were on notice of ongoing prosecutorial misconduct, as evidenced by Plaintiff's repeated emails
providing substantial evidence of wrongdoing and citing relevant case law.

The municipal defendants' inaction in the face of credible complaints and clear evidence of
misconduct created a climate in which constitutional violations were tolerated and even
encouraged.



D. Relevant Case Law Supporting Municipal Liability

The Supreme Court and the Ninth Circuit have established clear precedents that support
imposing municipal liability on the County of San Diego and the Board of Supervisors in
this case.



In Pembaurv. City of Cincinnati, 475 U.S. 469 (1986), the Supreme Court held that a single
decision by a municipal policymaker with final authority can subject the municipality to
liability under§ 1983. This is relevant to Plaintiff's case, as the actions of DOA Balerio and
DAI Pena in setting unreasonable bail and withholding exculpatory evidence can be
attributed to the County and the Board of Supervisors.



The Ninth Circuit's decision in Goldstein v. City of Long Beach, 715 F.3d 750 (9th Cir. 2013),
is particularly applicable to Plaintiff's situation. The court found that a municipality's
failure to investigate and discipline prosecutors for misconduct, despite notice of ongoing
issues, could give rise to liability under Monell v. Dept. of Soc. Svcs., 436 U.S. 658 (1978).
Here, Plaintiff sent at least nine emails and three letters to the Board of Supervisors
(Exhibit Z), putting them on notice of the egregious constitutional violations and the
ongoing misconduct by the prosecutors. Despite this, the Board failed to take any
meaningful action, demonstrating their deliberate indifference to the violation of Plaintiff's
rights.



Other relevant cases support Plaintiff's claims for municipal liability:
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In Owen v. City of Independence, 445 U.S. 622 (1980), the Supreme Court established that
municipal entities do not enjoy qualified immunity from civil rights claims.

City of Canton v. Harris, 489 U.S. 378 (1989), recognized that a municipality's failure to
train its employees can be a basis for§ 1983 liabilitywhere the failure amounts to
deliberate indifference to the rights of persons with whom those employees come into
contact.

Connick v. Thompson, 563 U.S. 51 (2011 ), reaffirmed that a pattern of similar
constitutional violations by untrained employees can demonstrate deliberate indifference
for purposes of failure to train liability.

In Henryv. County of Shasta, 132 F.3d 512 (9th Cir. 1997), the Ninth Circuit held that a
plaintiff can establish municipal liability by demonstrating that the alleged constitutional
violation was caused by a longstanding practice or custom which constitutes the
"standard operating procedure" of the local government entity.

 Fairley v. Luman, 281 F.3d 913 (9th Cir. 2002), found that a single incident of
unconstitutional activity can be sufficient to impose liability under Monell if the
unconstitutional action was ratified by municipal policymakers.

 In Webb v. Sloan, 330 F.3d 1158 (9th Cir. 2003), the Ninth Circuit held that a district
attorney's failure to institute policies and training to prevent constitutional violations by his
 subordinates can amount to a "policy of inaction" giving rise to municipal liability.

These cases provide a strong foundation for Plaintiff's claims against the County of San
 Diego and the Board of Supervisors. The Board's failure to investigate and discipline the
 prosecutors despite clear notice of ongoing misconduct, the lack of policies and training to
 prevent constitutional violations, and the ratification of the unconstitutional actions by
 policymakers all support the imposition of municipal liability under§ 1983.


Attribution of Balerio and Pena's Actions to Municipal
 Defendants
 The unconstitutional actions of Defendants Balerio and Pena can be attributed to the
 County of San Diego, the City of San Diego, and the San Diego County Board of Supervisors
 under the following theories of municipal liability:

 Final Policymaker Theory: Defendants Balerio and Pena, as Deputy District Attorney and
 Deputy Attorney Investigator, respectively, were final policymakers for their municipalities
 in the areas of law enforcement and criminal prosecution. Their decisions and actions,
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including the fabrication of evidence, setting of excessive bail, withholding of exculpatory
evidence, and malicious prosecution, represented the official policies, practices, or
customs of the municipal defendants.

Failure to Train and Supervise: The municipal defendants were deliberately indifferent in
their failure to train and supervise Defendants Balerio and Pena properly. Despite receiving
numerous complaints from Plaintiff and being presented with clear evidence of
misconduct (Exhibits Z1-Z9), the municipal defendants failed to take any meaningful steps
to investigate, discipline, or correct the ongoing constitutional violations. This failure to
train and supervise enabled and encouraged the continued violation of Plaintiff's rights by
Defendants Balerio and Pena.




 VI. Causes of Action


A. Violation of Eighth Amendment Right Against
Excessive Bail

Legal Standard for Excessive Bail Claims



a. The Eighth Amendment to the U.S. Constitution prohibits the imposition of excessive
bail.



b. Bail is considered excessive when it is set at an amount higher than reasonably
necessary to ensure the defendant's appearance at trial or to protect the public.



c. In determining whether bail is excessive, courts consider factors such as the nature and
circumstances of the offense charged, the weight of the evidence against the defendant,
and the defendant's financial ability to post bond.
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Defendants' Setting of No Bail Violated Plaintiff's Eighth Amendment Rights



a. Defendants Balerio and Pena set Plaintiff's bail at "no bail," despite the lack of a credible
threat or any evidence supporting the need for such a high bail amount.



b. As demonstrated by the Al analysis of the alleged threat {Exhibit I), Plaintiff's statements
did not meet the legal definition of a credible threat under California Penal Code 422. The
caller repeatedly denied making threats, sought intervention to de-escalate the situation,
and lacked the specific intent to commit violence.



c. Furthermore, Defendants Balerio and Pena were aware of Plaintiff's factual innocence
under the legal necessity defense {PC 278.7), as evidenced by DAI Pena's statements in
the recorded interview {Exhibit E). Despite this knowledge, they proceeded with setting no
bail and prosecuting Plaintiff.



d. The setting of no bail was unreasonable and excessive, as it was not necessary to
ensure Plaintiff's appearance at trial or to protect the public, given the lack of evidence
against Plaintiff and the Defendants' knowledge of Plaintiff's innocence.



e. Plaintiff's research has revealed that in cases where individuals have been charged with
violating PC 278.5{a), there is not a single instance where the defendant was denied bail
{Exhibit X). This fact underscores the extraordinary and unconstitutional nature of
Plaintiff's pre-trial detention.



f. The excessive bail violated Plaintiff's Eighth Amendment rights and resulted in Plaintiff's
 prolonged pre-trial detention, causing significant harm and damages to Plaintiff.


 B. Violation of Fourteenth Amendment Right to Due
 Process
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Legal Standard for Due Process Claims in Pre-Trial Detention Context



a. The Fourteenth Amendment to the U.S. Constitution prohibits states from depriving any
person of life, liberty, or property without due process of law.



b. In the context of pre-trial detention, due process requires that a defendant be given a fair
and reliable determination of probable cause before being subjected to prolonged
detention.



c. Fabricating evidence or withholding exculpatory evidence violates a defendant's due
process rights, as it undermines the reliability of the probable cause determination and the
fairness of the criminal proceedings.



Defendants' Fabrication of Threat and Withholding of Exculpatory Evidence Violated
Plaintiff's Due Process Rights



a. Defendants Balerio and Pena fabricated a threat and committed perjury on the arrest
warrant to justify Plaintiff's detention, despite knowing that there was no credible threat or
probable cause to support Plaintiff's arrest.



b. As demonstrated by the Al analysis of the alleged threat {Exhibit I), Plaintiff's statements
did not meet the legal definition of a credible threat under California Penal Code 422. The
caller repeatedly denied making threats, sought intervention to de-escalate the situation,
and lacked the specific intent to commit violence. Despite this, Defendants Balerio and
Pena misrepresented the nature of the call to the court to secure Plaintiff's detention.



c. Furthermore, Defendants Balerio and Pena withheld critical exculpatory evidence
throughout Plaintiff's 90-day incarceration, including:
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The full transcript of the alleged threat (Exhibit I), which clearly demonstrates the lack of a
credible threat;

The interview with Plaintiff's son conducted by DDA Balerio (Exhibit F), which supported
Plaintiff's innocence;

The interview with Plaintiff conducted by DAI Pena (Exhibit E), in which Pena acknowledged
Plaintiff's factual innocence under the legal necessity defense (PC 278. 7);

The findings of the FBI investigation, which determined that Plaintiff was not a threat.

d. By withholding this exculpatory evidence, Defendants Balerio and Pena prevented a fair
and reliable determination of probable cause, prolonging Plaintiff's detention despite their
knowledge of Plaintiff's innocence.



e. The fabrication of evidence and withholding of exculpatory evidence violated Plaintiff's
due process rights, as it resulted in Plaintiff's prolonged pre-trial detention without a fair
and reliable determination of probable cause. This misconduct undermined the fairness of
the criminal proceedings and caused significant harm to Plaintiff.



f. The 90-day denial of bail and excessive confinement also violated due process because
it amounted to unconstitutional pretrial punishment without a conviction. The Supreme
Court has held that "liberty is the norm, and detention prior to trial or without trial is the
carefully limited exception" (United States v. Salerno, 481 U.S. 739, 755 (1987)).


 C. Violation of First Amendment Right to Free Speech
and Petition

Legal Standard for First Amendment Retaliation Claims



a. The First Amendment to the U.S. Constitution protects the right to free speech and the
right to petition the government for redress of grievances.
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b. Government officials may not retaliate against an individual for exercising their First
Amendment rights .



c. To establish a First Amendment retaliation claim, a plaintiff must show that (1) they
engaged in constitutionally protected speech or conduct, (2) the defendant took adverse
action against the plaintiff, and (3) there was a causal connection between the protected
speech and the adverse action.



Defendants' Retaliatory Actions Violated Plaintiff's First Amendment Rights



a. Plaintiff exercised his First Amendment rights by filing a public corruption complaint
against high-profile individuals within the family court system and acting as a
whistleblower (Exhibit Q).



b. Plaintiff's public corruption complaint and whistleblowing activities are constitutionally
protected speech, as they involve matters of public concern and seek to hold government
officials accountable for alleged misconduct.



c. In retaliation for Plaintiff's protected speech, Defendants Balerio and Pena took adverse
actions against Plaintiff, including:



Fabricating a threat and committing perjury on the arrest warrant to justify Plaintiff's
detention;

Setting excessive bail at "no bail" to ensure Plaintiff's prolonged pre-trial detention;

Withholding exculpatory evidence that supported Plaintiff's innocence;

Maliciously prosecuting Plaintiff under PC 278.5(a) despite knowledge of his factual
innocence under the legal necessity defense (PC 278. 7).

d. The retaliatory motive behind the defendants' actions is evident from the statements
made by DAI Pena during her interview with Plaintiff (Exhibit E). In the transcript, Pena
acknowledged that the family court lawyers were actively seeking to have Plaintiff
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criminally arrested, regardless of the evidence supporting Plaintiff's innocence. Pena
indicated the family court lawyers are really pushing for us to arrest you, even though the
evidence doesn't support it because you "pissed them off". (exhibit E)



This statement by DAI Pena demonstrates that the individuals Plaintiff had previously
accused of corruption in his public corruption complaint (Exhibit Q) were now pressuring
the District Attorney's office to arrest and prosecute Plaintiff, despite the lack of probable
cause. These individuals, upset by Plaintiff's whistle blowing activities that exposed their
alleged misconduct in family court, were attempting to weaponize the criminal justice
system against Plaintiff in a blatantly retaliatory manner.



The family court lawyers' efforts to have Plaintiff arrested "damn the evidence" shows that
their primary motive was to punish Plaintiff for his protected speech and to deter him from
further whistleblowing. They sought to use the District Attorney's office to help them
retaliate against Plaintiff and make him suffer the consequences of speaking out against
their corruption.



Defendants Balerio and Pena , by acting on the family court lawyers' retaliatory demands
and engaging in the unconstitutional actions against Plaintiff (fabrication of evidence,
excessive bail, withholding of exculpatory evidence, and malicious prosecution),
demonstrated their own retaliatory motive. They chose to aid the family court lawyers in
their retaliation against Plaintiff, rather than adhering to their constitutional obligations and
the clear evidence of Plaintiff's innocence.



 The transcript of DAI Pena's interview provides direct evidence of the retaliatory motive
 behind the defendants' actions, as it shows that the driving force behind Plaintiff's arrest
 and prosecution was not a genuine belief in his guilt, but rather a desire to punish him for
 his whistleblowing activities. This clear link between Plaintiff's protected speech and the
 defendants' unconstitutional conduct firmly establishes the retaliatory nature of their
 actions and strengthens Plaintiff's First Amendment claim.



 e. Defendants' retaliatory actions were intended to punish Plaintiff for his protected
 speech and to deter him from engaging in furtherwhistleblowing activities. This chilling
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effect on Plaintiff's First Amendment rights is precisely the type of harm that the
Constitution seeks to prevent.



f. The retaliatory arrest, prosecution, and detention of Plaintiff violated his First
Amendment rights and caused significant harm, including the loss of liberty, emotional
distress, and damage to his reputation .


VI I. Damages

A. Harm and Damages Suffered from Unconstitutional Pre-Trial Detention



Plaintiff suffered severe emotional distress, mental anguish, and psychological trauma as
a result of his prolonged and unjust pre-trial detention.

Plaintiff was deprived of his liberty for 90 days, during which time he was unable to work,
earn income, or provide for his family.

Plaintiff's prolonged detention strained his familial relationships and caused him to miss
important milestones and events in his family members' lives.

Plaintiff's reputation in the community was damaged as a result of his arrest and
detention, causing him to suffer humiliation, embarrassment, and loss of standing in his
community.

Plaintiff incurred significant legal expenses in defending against the baseless charges and
seeking to vindicate his constitutional rights .

 B. Types of Damages Sought



Compensatory Damages

 a. Plaintiff seeks compensatory damages for the emotional distress, mental anguish, and
 psychological trauma he suffered as a result of his unconstitutional pre-trial detention.

 b. Plaintiff seeks compensatory damages for the loss of income and financial hardship he
 experienced due to his inability to work during his detention .
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c. Plaintiff seeks compensatory damages for the damage to his reputation and standing in
the community caused by his arrest and detention.



Punitive Damages

a. Plaintiff seeks punitive damages against Defendants Balerio and Pena to punish them
for their egregious misconduct and to deter similar misconduct by other officials in the
future .

b. The Defendants' actions in fabricating evidence, committing perjury, and withholding
exculpatory evidence demonstrate a reckless or callous indifference to Plaintiff's
constitutional rights, warranting the imposition of punitive damages.



Attorney's Fees and Costs

a. Plaintiff seeks an award of reasonable attorney's fees and costs pursuant to 42 U.S.C. §
1988, which allows prevailing plaintiffs in civil rights actions to recover their attorney's fees
and costs from the defendants.

b. Plaintiff has incurred significant legal expenses in seeking to vindicate his constitutional
rights and hold the Defendants accountable for their misconduct.




VIII. Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor and
 against Defendants, granting the following relief:



 A. Declaratory Judgment



 A declaratory judgment stating that Defendants' actions in setting excessive bail,
 fabricating evidence, and withholding exculpatory evidence violated Plaintiff's rights under
 the Eighth and Fourteenth Amendments to the U.S. Constitution.
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A declaratory judgment stating that the policies, practices, or customs of the County of
San Diego, the City of San Diego, and the San Diego County Board of Supervisors in failing
to investigate or discipline prosecutors for misconduct, despite notice of ongoing issues,
caused the violation of Plaintiff's constitutional rights.

B. Injunctive Relief



An order enjoining Defendants Balerio and Pena from engaging in further misconduct or
constitutional violations in their roles as Deputy District Attorney and Deputy District
Attorney Investigator, respectively.

An order requiring the County of San Diego, the City of San Diego, and the San Diego
County Board of Supervisors to implement policies, practices, and procedures to ensure
adequate oversight and accountability for prosecutorial misconduct and to prevent future
constitutional violations.

C. Damages



Compensatory damages in an amount to be determined at trial for the emotional distress,
mental anguish, psychological trauma, loss of income, damage to reputation, and other
losses suffered by Plaintiff as a result of his unconstitutional pre-trial detention.

Punitive damages against Defendants Balerio and Pena in an amount to be determined at
trial to punish them for their egregious misconduct and to deter similar misconduct by
other officials in the future.

Attorney's fees and costs pursuant to 42 U.S.C. § 1988.

D. Other Relief



Such other and further relief as the Court deems just and proper.




VII. Jury Demand and Special Requests
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Plaintiff hereby demands a trial by jury on all issues so triable pursuant to Federal Rule of
Civil Procedure 38(b).



Due to the exceptional circumstances of this case and the potential conflict of interest
arising from the chief judge's marriage to the head District Attorney, Plaintiff respectfully
requests that this case be heard by a three-judge district court panel pursuant to 28 U.S.C.
§ 2284.




Furthermore, Plaintiff requests a case management conference or a Rule 26(f) conference
to discuss discovery issues and potentially expedite the discovery process in light of the
serious constitutional violations at issue.




VERIFICATION
IT IS HEREBY certified that the facts in the foregoing is true and correct under penalty of

perjury to the best of my knowledge and belief. Attachments to this are true and correct
copies of the items they purport to be.

Dated 04/09/24



Rob Emert

2351 Vista Lago Terrace

 Escondido California 92029

 robemert@msn.com

 (760) 612-9328




 ELECTRONIC SERVICE
 I, Glenda Emert certify that on 04/10/24, I served: A civil rights action brought under 42
 U.S.C. § 1983 seeking damages for the violation of Plaintiff Robert Emert's Eighth
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Amendment right against excessive bail and Fourteenth Amendment right to due process,
specifically focusing on his illegal 90-day pre-trial detention for which he was never
charged.

by email to: COSD.Claims@sdcounty.ca.gov: sdag.docketing@doj.ca.gov ;
da.appellate@sdcda.org; Sandiegodaprop65@sdcda.org;
jo e I.and e rson@sd county.ca.gov ; District1 community@sdcounty.ca.gov ;
Remer@sdcounty.ca.gov; Monica.MontgomerySteppe@sdcounty.ca.gov
jim.desmond@sdcounty.ca.gov



I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

Dated: 04/10/24


~~
Glenda Emert




X. Filing of Exhibits Under Separate Cover

Pursuant to Rule 5(d)(3) and Rule 32(a)(5) of the Federal Rules of Civil Procedure, and Rule
25(a)(5) of the Federal Rules of Appellate Procedure, Petitioner hereby gives notice of
 intent to file the following exhibits under separate cover.

These exhibits are being filed under separate cover due to their length, as each exceeds
 300 pages. Electronic copies of these exhibits will be submitted to the Court within five
 days of the filing of this petition, as required by the aforementioned rules.

 Petitioner will file a separate "Notice of Lodging of Exhibits Under Separate Cover"
 concurrently with the submission of the electronic copies to the Court. This notice will
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confirm that the electronic copies have been submitted and will provide a detailed listing
of the exhibits being lodged.

The exhibits being lodged under separate cover are incorporated by reference into this
petition and are an integral part of the record supporting Petitioner's claims for habeas
corpus relief. Petitioner respectfully requests that the Court consider these exhibits in their
entirety when evaluating the merits of this petition.



A. Emails with San Diego District Attorney

B. Bryce Emert affidavit

C. Bryce Emert letters and emails

D. Bryce Emert transcripts

E. DAI Luis Pena call transcript that was not disclosed

F. ODA Balerio transcript of interview she did with Bryce Emert and did not disclose

G. Jose Badillo call transcripts

H. Andrea Schuck call transcripts

I. FBI call transcript

J. Emails showing no malice

K. Email to DAI Pena regarding CPS interview

L. Email from DOJ forwarding complaint to FBI

M. Email offering DA to talk to Bryce anytime as Bryce has his own phone

N. Email to DAI Pena regarding homeschool information

0. Email to DAI Pena regarding handling in family court

P. Lower Court, Patti Ratekin, did not have jurisdiction due to Peremptory challenge

Q. Public corruption complaint filed with the Superior Court, DOJ, FBI, San Diego Board of
supervisors.

R. Rob Emert medical documents

S. DOJ email that forwarded my public corruption complaint to the FBI
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T. Comm. Patti Rate kin transcripts to prove with zero evidence, she was trying to place my
son in a facility.

U. Comm. Patti Ratekin Transcripts

V. Court transcripts

W. Emails corroborating that Andrea Schuck was on board with the alarming narrative to
place Bryce into a "facility" when all the evidence suggested that was the wrong decision.

X. Many amicable offers of 50/50 custody with both children going back and forth between
our homes on an as needed basis for their emotional well being.

Y. 3 Family Court Services recommending 50/50 custody and I initially was granted 60% to
ease the transition due to being a stay at home dad .

Z. Emails and letters to the San Diego Board of Supervisors

AA. Arrest Warrant and Criminal Complaint.
